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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  SANOFI-AVENTIS U.S., LLC,

                      Plaintiff,

                         –v–                          Civil Action No. 3:21-cv-634-FLW-LHG

  NORRIS COCHRAN, et al.,


                     Defendants.


      AMENDED DECLARATION OF JAMES W. BOYAN III IN SUPPORT OF
       AMERICAN HOSPITAL ASSOCIATION, 340B HEALTH, AMERICA’S
  ESSENTIAL HOSPITALS, ASSOCIATION OF AMERICAN MEDICAL COLLEGES,
     CHILDREN’S HOSPITAL ASSOCIATION, AND AMERICAN SOCIETY OF
         HEALTH-SYSTEM PHARMACISTS’ MOTION TO INTERVENE

        I, James W. Boyan III, declare and state as follows:

        1.      I am a partner at the law firm of Pashman Stein Walder Hayden, P.C., counsel to

 American Hospital Association, 340B Health, America’s Essential Hospitals, Association of

 American Medical Colleges, Children’s Hospital Association, and American Society of Health-

 System Pharmacists (“Proposed Intervenors”) in the above-captioned mater.

        2.      I submit this declaration in support of the Proposed Intervenors’ Motion to

 Intervene. I make this declaration based upon my personal knowledge and, where appropriate, a

 review of the relevant case files. The facts set forth herein are true and correct to the best of my

 knowledge and belief.

        3.      Attached hereto as Exhibit A is a true and correct copy of the Declaration of

 Maureen Testoni in Support of Proposed Intervenors’ Motion to Intervene, dated February 24,

 2021 in the above-captioned matter.
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        4.       Attached hereto as Exhibit B is a true and correct copy of the Intervenors’

 [Proposed] Answer in Intervention to Plaintiff’s First Amended Complaint.

        5.       Attached hereto as Exhibit C is a true and correct copy of a Letter from Anat

 Hakim, General Counsel, Eli Lilly and Co. to Eric Hargan, Deputy Secretary, HHS, dated July 17,

 2020, which is Exhibit E to the First Amended Complaint in Eli Lilly & Co. v. Cochran, No. 1:21-

 cv-00081-SEB-MJD (S.D. Ind. Jan. 25, 2021), ECF No. 17-6.

        6.       Attached hereto as Exhibit D is a true and correct copy of a Letter from Krista AM.

 Pedley, Assistant Surgeon General, Office of Pharm. Affairs, HHS to Derek L. Asay, Senior

 Director, Lilly USA, LLC, dated June 11, 2020, which is Exhibit E to the First Amended

 Complaint in Eli Lilly & Co. v. Cochran, No. 1:21-cv-00081-SEB-MJD (S.D. Ind. Jan. 25, 2021),

 ECF No. 17-4.

        7.       Attached hereto as Exhibit E is a true and correct copy of an Eli Lilly & Co. Notice,

 which is Exhibit G to the First Amended Complaint in Eli Lilly & Co. v. Cochran, No. 1:21-cv-

 00081-SEB-MJD (S.D. Ind. Jan. 25, 2021), ECF No. 17-8.

        8.       Attached hereto as Exhibit F is a true and correct copy of a Letter from Odalys

 Caprisecca, Executive Director, AstraZeneca to 340B Partners, dated August 17, 2020, which is

 Exhibit A to the Amended Complaint in AstraZeneca Pharms. L.P. v. Cochran, No. 1:21-cv-

 00027-LPS (D. Del. Feb. 12, 2021), ECF No. 13-1.

        9.       Attached hereto as Exhibit G is a true and correct copy of Advisory Opinion 20-

 06 on Contract Pharmacies Under the 340B Program, dated December 30, 2020.

        10.      Attached hereto as Exhibit H is a true and correct copy of a Letter from Robert P.

 Charrow, General Counsel, HHS to Anat Hakim, General Counsel, Eli Lilly and Co., dated




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 September 21, 2020, which is Exhibit K to the First Amended Complaint in Eli Lilly & Co. v.

 Cochran, No. 1:21-cv-00081-SEB-MJD (S.D. Ind. Jan. 25, 2021), ECF No. 17-12.

          11.     Attached hereto as Exhibit I is a true and correct copy of a Letter from Krista M.

 Pedley, Assistant Surgeon General, Office of Pharm. Affairs, HHS to Maureen Testoni, President

 & CEO, 340B Health, dated December 9, 2020, which is Exhibit L to the First Amended Complaint

 in Eli Lilly & Co. v. Cochran, No. 1:21-cv-00081-SEB-MJD (S.D. Ind. Jan. 25, 2021), ECF No.

 17-13.

          12.     Attached hereto as Exhibit J is a true and correct copy of a Novo Nordisk Notice,

 dated     December      1,   2020,       an   electronic   version       of        which        is     available   at

 https://www.340bhealth.org/files/Novo_Nordisk_12-1-2020.pdf.

          13.     Attached hereto as Exhibit K is a true and correct copy of a Sanofi Notice, dated

 July      2020,       an      electronic      version       of          which         is             available     at

 https://www.340bhealth.org/files/Sanofi_Notice_10_1_20.pdf.

          14.     Attached hereto as Exhibit L is a true and correct copy of Novartis Statement, dated

 October        30,   2020,     an    electronic     version        of      which           is         available    at

 https://www.novartis.us/news/statements/new-policy-related-340b-program.

          15.     Attached hereto as Exhibit M is a true and correct copy of a Memorandum from

 Kevin Gray, SVP, United Therapeutics Corp. to 340B Covered Entities, dated November 18, 2020,

 an         electronic          version         of          which              is            available              at

 https://www.dropbox.com/s/swyrookjcwqxe58/United%20Therapeutics%20Letter%2011.20.202

 0%20%281%29.pdf?dl=0.

          16.     Attached hereto as Exhibit N is a true and correct copy of a Letter from 340B

 Coalition to Alex M. Azar, Secretary, HHS, dated July 16, 2020, an electronic version of which is




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 available      at    https://nysarh.org/wp-content/uploads/2020/08/340B-Coalition-Letter-Final-

 7.16.20.pdf.

        17.      Attached hereto as Exhibit O is a true and correct copy of a Letter from Thomas P.

 Nickels, EVP, AHA to Alex M. Azar, Secretary, HHS, dated July 30, 2020, an electronic version

 of which is available at https://www.aha.org/system/files/media/file/2020/07/aha-urges-hhs-take-

 action-against-drug-manufacturers-for-limiting-distribution-340b-drugs-letter-7-30-2020.pdf.

        18.      Attached hereto as Exhibit P is a true and correct copy of a Letter from Bruce

 Siegel, President & CEO, AEH to Alex Azar, Secretary, HHS, dated August 28, 2020, an electronic

 version of which is available at https://essentialhospitals.org/wp-content/uploads/2020/08/AEH-

 Letter-340B-Contract-Pharmacy-8-28-20.pdf.

        19.      Attached hereto as Exhibit Q is a true and correct copy of a Letter from Richard J.

 Pollack, President & CEO, AHA to Alex M. Azar, Secretary, HHS, dated September 8, 2020, an

 electronic          version           of          which           is          available          at

 https://www.aha.org/system/files/media/file/2020/09/aha-again-urges-hhs-to-protect-340b-

 program-from-drug-companies-actions-letter-9-8-20.pdf.

        20.      Attached hereto as Exhibit R is a true and correct copy of a Letter from Richard J.

 Pollack, President & CEO, AHA to Alex M. azar, Secretary, HHS, dated October 16, 2020, an

 electronic          version           of          which           is          available          at

 https://www.aha.org/system/files/media/file/2020/10/aha-urges-hhs-stop-drug-companies-

 refusal-provide-required-340b-discounts-letter-10-16-20.pdf




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        21.     Attached as Exhibit S is a true and correct copy of a Pink Sheet article by Cathy

 Kelly titled 340B Dispute Resolution Process On Ice As Feuds Between Pharm, Providers, HHS

 Heat     Up,       an     electronic     version      of     which       is     available     at

 https://pink.pharmaintelligence.informa.com/PS143652/340B-Dispute-Resolution-Process-On-

 Ice-As-Feuds-Between-Pharma-Providers-HHS-Heat-Up.


 Dated: March 26, 2021                       /s/ James W. Boyan III
                                             James W. Boyan III




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                   EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

   SANOFI-AVENTIS U.S., LLC,
                          Plaintiff,
                            -v-

   NORRIS COCHRAN, et al.,
                                                       Civil Action No. 3:21-cv-634
                     Defendants.




    DECLARATION OF MAUREEN TESTON! IN SUPPORT OF THE AMERICAN
  HOSPITAL ASSOCIATION, 340B HEALTH, AMERICA'S ESSENTIAL HOSPITALS,
   THE ASSOCIATION OF AMERICAN MEDICAL COLLEGES, THE CHILDREN'S
  HOSPITAL ASSOCIATION, AND THE AMERICAN SOCIETY OF HEALTH-SYSTEM
                 PHARMACIST'S MOTION TO INTERVENE

  I, Maureen Testani, state as follows under the penalty of perjury:

         1.      I am the President and Chief Executive Officer of 340B Health, a national, not-for-

  profit organization headquartered in Washington, D.C. Our vision and mission is to be the leading

  340B advocate and resource in helping hospitals serve their patients, so that 340B hospitals and

  health systems fulfill their mission to provide care for patients with low income and those living

  in rural communities.

         2.      The information set forth in this affidavit is based upon my personal knowledge.

         3.      Following Eli Lilly's June 2020 announcement that it would cease offering Cialis®

  at 340B pricing to 340B entities if dispensed by a contract pharmacy, 340B Health conducted a

  "Contract Pharmacy Survey." The survey was administered to all 340B Health hospital members

  (about 1500). Responses were received between July 14 and August 8, 2020. 435 hospitals

  responded. The respondent mix was 64% disproportionate share hospitals (DSH) hospitals, 24%
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                   EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



   SANOFI-AVENTIS U.S., LLC,

                        Plaintiff,

                          –v–                          Civil Action No. 3:21-cv-634-FLW-LHG

   NORRIS COCHRAN, et al.,
               Defendants.


    [PROPOSED] ANSWER IN INTERVENTION TO PLAINTIFF’S FIRST AMENDED
                              COMPLAINT

         Intervenors American Hospital Association, 340B Health, Association of American

  Medical Colleges, America’s Essential Hospitals, National Association of Children’s Hospitals

  d/b/a Children’s Hospital Association, and American Society of Health-System Pharmacists

  (collectively the Intervenors) hereby answer the First Amended Complaint filed by Plaintiff

  Sanofi-Aventis U.S., LLC (“Plaintiff”) as follows.

                                              INTRODUCTION

         1.      The allegations in Paragraph 1 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         2.      The allegations in Paragraph 2 address legal rather than factual matters and

  characterize section 340B of the Public Health Service Act, 42 U.S.C. § 256b, which is the best

  evidence of its content. To the extent that Paragraph 2 makes any material allegations that are

  inconsistent with the statute, they are denied.

         3.      Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 3.
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         4.      Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 4.

         5.      Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 5 and therefore deny the same.

         6.      The allegations in Paragraph 6 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         7.      The allegations in Paragraph 7 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 7 address legal rather than factual matters and characterize the ADR Rule published by

  HRSA, which is the best evidence of its content. To the extent that Paragraph 7 makes any material

  allegations that are inconsistent with the Rule, they are denied.

         8.      The allegations in Paragraph 8 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         9.      The allegations in Paragraph 9 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         10.     The allegations in Paragraph 10 addresses legal rather than factual matters and

  characterize the Advisory Opinion issued on December 30, 2020, which is the best evidence of its

  content. To the extent that Paragraph 10 makes any material allegations that are inconsistent with

  the Advisory Opinion, they are denied.



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         11.    The allegations in Paragraph 11 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         12.    The allegations in Paragraph 12 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         13.    The allegations in Paragraph 13 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

                                       JURISDICTION AND VENUE

         14.    The allegations in Paragraph 14 are conclusions of law to which no response is

  required.

         15.    The allegations in Paragraph 15 are conclusions of law to which no response is

  required.

         16.    The allegations in Paragraph 16 are conclusions of law to which no response is

  required.

                                                 PARTIES

         17.    Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 17 and therefore deny the same.

         18.    Intervenors admit the allegations contained in Paragraph 18.

         19.    Intervenors admit the allegations contained in Paragraph 19.

         20.    Intervenors admit the allegations contained in Paragraph 20.

         21.    Intervenors admit the allegations contained in Paragraph 21.

         22.    Intervenors admit the allegations contained in Paragraph 22.

                                        STATEMENT OF FACTS




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         23.     The allegations in Paragraph 23 addresses legal rather than factual matters and

  characterize the Advisory Opinion issued on December 30, 2020, which is the best evidence of its

  content.

         24.     The allegations in Paragraph 24 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 24 makes any material allegations that are inconsistent with the statute, they are denied.

         25.     The allegations in Paragraph 25 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 25 makes any material allegations that are inconsistent with the statute, they are denied.

         26.     The allegations in Paragraph 26 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 26 makes any material allegations that are inconsistent with the statute, they are denied.

         27.     The allegations in Paragraph 27 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 27 makes any material allegations that are inconsistent with the statute, they are denied.

         28.     The allegations in Paragraph 28 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 28 makes any material allegations that are inconsistent with the statute, they are denied.

         29.     The allegations in Paragraph 29 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 29 makes any material allegations that are inconsistent with the statute, they are denied.




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         30.     The allegations in Paragraph 30 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 30 makes any material allegations that are inconsistent with the statute, they are denied.

         31.     The allegations in Paragraph 31 address legal rather than factual matters and

  characterize 42 U.S.C. § 256b, which is the best evidence of its content. To the extent that

  Paragraph 31 makes any material allegations that are inconsistent with the statute, they are denied.

         32.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 32.

         33.     The allegations in Paragraph 33 address legal rather than factual matters and

  characterize the HRSA guidelines issued in 1996 which are the best evidence of its content. To the

  extent that Paragraph 33 makes any material allegations that are inconsistent with the HRSA

  guidelines, they are denied.

         34.     The allegations in Paragraph 34 address legal rather than factual matters and

  characterize the HRSA guidelines issued in 2010 which are the best evidence of its content. To the

  extent that Paragraph 34 makes any material allegations that are inconsistent with the HRSA

  guidelines, they are denied.

         35.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 35.

         36.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 36.

         37.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 37.




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         38.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 38.

         39.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 39.

         40.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 40.

         41.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 41 to the extent that they are not quoting from Exhibits

  1, 2, 3, 4, or 5 and therefore deny the same.

         42.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 42 to the extent that they are not quoting from Exhibits

  6 or 7 and therefore deny the same.

         43.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 43 and therefore deny the same.

         44.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 44 and therefore deny the same.

         45.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 45 and therefore deny the same.

         46.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 46 and therefore deny the same.

         47.     Intervenors admit the allegations of Paragraph 47, except that Intervenors lack

  knowledge or information sufficient to form a belief about why the manufacturers implemented

  the policies referred to and therefore those allegations are denied. Intervenors also note that



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  Sanofi’s motion to intervene in Am. Hosp. Ass’n v. HHS is no longer pending because the case

  has been dismissed.

         48.     The allegations in Paragraph 48 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 48 address legal rather than factual matters and characterize the Affordable Care Act

  which is the best evidence of its content. To the extent that Paragraph 48 makes any material

  allegations that are inconsistent with the statute, they are denied.

         49.     The allegations in Paragraph 49 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 49 address legal rather than factual matters and characterize the Affordable Care Act

  which is the best evidence of its content. To the extent that Paragraph 49 makes any material

  allegations that are inconsistent with the statute, they are denied.

         50.     The allegations in Paragraph 50 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  characterize the NPRM which is the best evidence of its content. To the extent that Paragraph 50

  makes any material allegations that are inconsistent with the NPRM, they are denied.

         51.     The allegations in Paragraph 51 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors

  admit the allegations in Paragraph 51, except for the statement that “HRSA took no public action

  regarding the ADR for more than four years,” which is denied as incorrect.

         52.     The allegations in Paragraph 52 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors




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  admit the allegations in Paragraph 52, except to note that there were only two lawsuits filed that

  sought to require HHS to issue the ADR regulations.

         53.     The allegations in Paragraph 53 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors

  admit the allegations in Paragraph 53.

         54.     The allegations in Paragraph 54 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors

  admit that HRSA published a final ADR rule on December 14, 2020 but lack knowledge or

  information sufficient to form a belief about the truth of the remaining allegations in Paragraph 54

  and therefore deny the same.

         55.     The allegations in Paragraph 55 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 55 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content. To the extent that Paragraph 55 makes any

  material allegations that are inconsistent with the Rule, they are denied.

         56.     The allegations in Paragraph 56 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors

  lack knowledge or information sufficient to form a belief about the truth of these allegations and

  therefore deny the same.

         57.     The allegations in Paragraph 57 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 57 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content.



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         58.     The allegations in Paragraph 58 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 58 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content. To the extent that Paragraph 58 makes any

  material allegations that are inconsistent with the Rule, they are denied.

         59.     The allegations in Paragraph 59 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 59 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content. To the extent that Paragraph 59 makes any

  material allegations that are inconsistent with the Rule, they are denied.

         60.     The allegations in Paragraph 60 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 60 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content. To the extent that Paragraph 60 makes any

  material allegations that are inconsistent with the Rule, they are denied.

         61.     The allegations in Paragraph 61 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations in

  Paragraph 61 address legal rather than factual matters and characterize the ADR Rule published

  by HRSA, which is the best evidence of its content. To the extent that Paragraph 61 makes any

  material allegations that are inconsistent with the Rule, they are denied.

         62.     The allegations in Paragraph 62 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.




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         63.     The allegation in Paragraph 63 addresses legal rather than factual matters and

  characterizes the Advisory Opinion issued on December 30, 2020, which is the best evidence of

  its content. To the extent that Paragraph 63 makes any material allegations that are inconsistent

  with the Advisory Opinion, they are denied.

         64.     The allegation in Paragraph 64 addresses legal rather than factual matters and

  characterizes the Advisory Opinion issued on December 30, 2020, which is the best evidence of

  its content. To the extent that Paragraph 64 makes any material allegations that are inconsistent

  with the Advisory Opinion, they are denied.

         65.     The allegation in Paragraph 65 addresses legal rather than factual matters and

  characterizes the Advisory Opinion issued on December 30, 2020, which is the best evidence of

  its content. To the extent that Paragraph 65 makes any material allegations that are inconsistent

  with the Advisory Opinion, they are denied.

         66.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 66 to the extent that they are not quoting from Exhibits

  13 or 14 and therefore deny the same.

         67.     Intervenors lack knowledge or information sufficient to form a belief about the truth

  of the allegations contained in Paragraph 67 to the extent that they are not accurately represented

  Exhibits 15 or 16 and therefore deny the same.

         68.     The allegations in Paragraph 68 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the Intervenors

  lack knowledge or information sufficient to form a belief about the truth of these allegations and

  therefore deny the same.

                                                 STANDING



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         69.     The allegations in Paragraph 69 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         70.     The allegations in Paragraph 70 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 70 are conclusions of law to which no response is required. To the extent they may be

  deemed to be factual allegations, they are denied.

         71.     The allegations in Paragraph 71 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 71 are conclusions of law to which no response is required. To the extent they may be

  deemed to be factual allegations, they are denied.

         72.     The allegations in Paragraph 72 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 72 are conclusions of law to which no response is required. To the extent they may be

  deemed to be factual allegations, they are denied.

         73.     The allegations in Paragraph 73 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         74.     The allegations in Paragraph 74 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         75.     The allegations in Paragraph 75 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         76.     The allegations in Paragraph 76 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.




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         77.     The allegations in Paragraph 77 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 77 are conclusions of law to which no response is required. To the extent they may be

  deemed to be factual allegations, they are denied.

         78.     The allegations in Paragraph 78 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 78 are conclusions of law to which no response is required. To the extent they may be

  deemed to be factual allegations, they are denied.

         79.     The allegations in Paragraph 79 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         80.     The allegations in Paragraph 80 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         81.     The allegations in Paragraph 81 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         82.     Intervenors deny the incomplete, out of context and misleading allegations

  contained in Paragraph 82.

                                          CLAIMS FOR RELIEF

                           Count I—Violation of Administrative Procedure Act
                   The ADR Rule Violates Article II of the U.S. Constitution (Appointments
                                              Clause)

         83.     Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–82.

         84.     The allegations in Paragraph 84 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in




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  Paragraph 84 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content.

         85.     The allegations in Paragraph 85 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  address legal rather than factual matters and characterize the Appointments Clause of the U.S.

  Constitution, which is the best evidence of its content.

         86.     The allegations in Paragraph 86 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         87.     The allegations in Paragraph 87 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         88.     The allegations in Paragraph 88 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         89.     The allegations in Paragraph 89 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

                       Count II—Violation of Administrative Procedure Act
                       The ADR Rule Violates Article III of the Constitution




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         90.     Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–89.

         91.     The allegations in Paragraph 91 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 91 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content and to which no response is required.

         92.     The allegations in Paragraph 92 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may deemed applicable, the allegations

  address legal rather than factual matters and characterize Article III of the U.S. Constitution which

  is the best evidence of its content and to which no response is required.

         93.     The allegations in Paragraph 93 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         94.     The allegations in Paragraph 94 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

                     Count III—Violation of Administrative Procedure Act
            The ADR Rule Is Contrary to Law and in Excess of Statutory Authority

         95.     Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–94.

         96.     The allegations in Paragraph 96 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations in

  Paragraph 96 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content and to which no response is required.




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         97.     The allegations in Paragraph 97 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         98.     The allegations in Paragraph 98 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         99.     The allegations in Paragraph 99 are not applicable to Plaintiff’s allegations that are

  the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         100.    The allegations in Paragraph 100 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         101.    The allegations in Paragraph 101 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

                   Count IV—Violation of Administrative Procedure Act
         HHS Failed to Observe the Notice-and-Comment Procedure Required by Law
                               in Promulgating the ADR Rule

         102.    Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  101.

         103.    The allegations in Paragraph 103 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations



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  in Paragraph 103 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content, and no response is required.

         104.    The allegations in Paragraph 104 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  in Paragraph 104 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content and to which no response is required.

         105.    The allegations in Paragraph 105 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  in Paragraph 105 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content and to which no response is required.

         106.    The allegations in Paragraph 106 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         107.    The allegations in Paragraph 107 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         108.    The allegations in Paragraph 108 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         109.    The allegations in Paragraph 109 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.



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                       Count V—Violation of Administrative Procedure Act
                           The ADR Rule Is Arbitrary and Capricious

         110.    Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  109.

         111.    The allegations in Paragraph 111 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  in Paragraph 111 address legal rather than factual matters and characterize the Administrative

  Procedure Act, which is the best evidence of its content, to which no response is required.

         112.    The allegations in Paragraph 112 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         113.    The allegations in Paragraph 113 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

         114.    The allegations in Paragraph 114 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required. To the extent they may be deemed to be

  factual allegations, they are denied.

         115.    The allegations in Paragraph 115 are not applicable to Plaintiff’s allegations that

  are the basis for Intervenors’ motion. To the extent they may be deemed applicable, the allegations

  are conclusions of law to which no response is required.

                   Count VI—Violation of Administrative Procedure Act
         HHS Failed to Observe the Notice-and-Comment Procedure Required by Law
                           in Promulgating the Advisory Opinion




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         116.    Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  115.

         117.    The allegations in Paragraph 117 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         118.    The allegations in Paragraph 118 addresses legal rather than factual matters and

  characterize the Advisory Opinion issued on December 30, 2020, which is the best evidence of its

  content. To the extent that Paragraph 118 makes any material allegations that are inconsistent with

  the Advisory Opinion, they are denied.

         119.    The allegations in Paragraph 119 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         120.    The allegations in Paragraph 120 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         121.    The allegations in Paragraph 121 are conclusions of law to which no response is

  required.

                     Count VII—Violation of Administrative Procedure Act
                        HHS Failed to Follow Its Good Guidance Rule

         122.    Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  122.

         123.    The allegations in Paragraph 123 address legal rather than factual matters and

  characterize the Administrative Procedure Act which is the best evidence of its content and to

  which no response is required.

         124.    The allegations in Paragraph 124 address legal rather than factual matters and

  characterize the Good Guidance Rule which is the best evidence of its content and to which no

  response is required.


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         125.    The allegations in Paragraph 125 address legal rather than factual matters and

  characterize the Good Guidance Rule which is the best evidence of its content and to which no

  response is required.

         126.    The allegations in Paragraph 126 address legal rather than factual matters and

  characterize the Good Guidance Rule which is the best evidence of its content and to which no

  response is required.

         127.    The allegations in Paragraph 127 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         128.    The allegations in Paragraph 128 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         129.    The allegations in Paragraph 129 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         130.    The allegations in Paragraph 130 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         131.    The allegations in Paragraph 131 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         132.    The allegations in Paragraph 132 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         133.    The allegations in Paragraph 133 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

         134.    The allegations in Paragraph 134 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.




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          135.   The allegations in Paragraph 135 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

                   Count VIII—Violation of Administrative Procedure Act
         The Advisory Opinion Is Contrary to Law and in Excess of Statutory Authority

          136.   Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  136.

          137.   The allegations in Paragraph 137 address legal rather than factual matters and

  characterize the Administrative Procedure Act which is the best evidence of its content. To the

  extent that Paragraph 137 makes any material allegations that are inconsistent with the

  Administrative Procedure Act, they are denied.

          138.   The allegations in Paragraph 138 are conclusions of law to which no response is

  required and to which no response is required.

          139.   The allegations in Paragraph 139 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

          140.   The allegations in Paragraph 140 are conclusions of law to which no response is

  required. To the extent they may be deemed to be factual allegations, they are denied.

          141.   The allegations in Paragraph 141 are conclusions of law to which no response is

  required.

          142.   The allegations in Paragraph 142 are conclusions of law to which no response is

  required.

                     Count IX—Violation of Administrative Procedure Act
                      The Advisory Opinion Is Arbitrary and Capricious




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         143.   Intervenors hereby incorporate their answers to the allegations in Paragraphs 1–

  142.

         144.   The allegations in Paragraph 144 address legal rather than factual matters and

  characterize the Administrative Procedure Act which is the best evidence of its content and to

  which no response is required.

         145.   The allegations in Paragraph 145 are conclusions of law to which no response is

  required and to which no response is required.

         146.   The allegations in Paragraph 146 are conclusions of law to which no response is

  required.

         147.   The allegations in Paragraph 147 are conclusions of law to which no response is

  required.

                              AFFIRMATIVE AND OTHER DEFENSES

         1.     Plaintiff fails to state a claim upon which relief may be granted.

         2.     The challenged December 30, 2020 Advisory Opinion issued by the General

  Counsel of HHS is consistent with and required by the 340B statute.

         3.     The challenged December 30, 2020 Advisory Opinion issued by the General

  Counsel of HHS does not violate the Administrative Procedures Act because it interprets a

  statutory requirement.

         4.     The challenged December 30, 2020 Advisory Opinion issued by the General

  Counsel of HHS is constitutional.

                *              *               *              *               *

  Intervenors reserve the right to amend their answer and defenses as more information is obtained.

                                       Respectfully submitted,



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                               ______________________
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                    EXHIBIT C
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                          Exhibit E
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  July 17, 2020

  BY E-MAIL

  Eric Hargan, Esq.
  Deputy Secretary of Health and Human Services
  Department of Health and Human Services
  200 Independence Avenue SW
  Washington, D.C. 20201

  Robert Charrow, Esq.
  General Counsel
  Department of Health and Human Services
  200 Independence Avenue SW
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  RE:        340B Contract Pharmacy Guidance

  Dear Messrs. Hargan and Charrow,

  On behalf of Eli Lilly and Company (Lilly), I am writing in response to communications submitted to
  Secretary Azar regarding Lilly’s limited distribution program for Cialis (tadalafil) erectile
  dysfunction products. 1,2 Under that program, 340B covered entities and child sites receive 340B
  priced Cialis, but contract pharmacies do not unless an entity lacks an in-house pharmacy, in which
  case Lilly would voluntarily honor a contract pharmacy relationship. Our decision was arrived at
  after engagement between Lilly and the Health Resources and Services Administration (HRSA). We
  request a virtual meeting to discuss this matter with you at your earliest convenience and to
  identify options for avoiding costly and unnecessary litigation.

        I.      Background
  On July 1, Lilly implemented a program, through wholesalers, to decline 340B contract pharmacy
  requests to acquire erectile dysfunction (ED) formulations of Cialis at the 340B ceiling price. The
  rationale for this decision was submitted to HRSA for prior review on May 18, 2020. See
  Attachment 1. On June 11, HRSA responded by stating that the Contract Pharmacy Guidance (75
  Fed. Reg. 10,272 (Mar. 5, 2010)) is “advice” and is not binding on Lilly. HRSA encouraged Lilly to
  honor the guidance, citing a concern, inter alia, that some covered entities lacked an in-house
  pharmacy. Lilly responded to that communication on June 16 and, in deference to HRSA’s concern,
  revised its proposal to accommodate entities without pharmacies. We submitted public notice of
  the program for review and posting by HRSA on June 26. We expect that HRSA fully reviewed the
  issue and its response with HHS before HRSA communicated its final determination to Lilly.

  HRSA’s determination that the contract pharmacy guidance is not legally binding, coupled with the
  fact the covered entities and child sites continue to have access to 340B priced product, ensures
  that Lilly is in compliance with the “must offer” provision and all other relevant aspects of the 340B
  statute. Lilly has and will continue to offer 340B price product to all 340B covered entities.

  1 Michelle Stein, “340B Coalition To HHS: Stop Efforts By Lilly, Merck To Limit Discounts,” Inside Health
  Policy. (July 16, 2020).
  2 We have addressed this communication to you because we understand that Secretary Azar has recused

  himself from matters regarding Eli Lilly and Company.
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      II.      Implications for Federal Healthcare Programs and Patients
  HHS is well acquainted with the 340B Program and its impact on the federal program finances.

  Medicare Part B: In the 2018 Outpatient Prospective Payment (OPPS) rule, HHS attempted to adjust
  Medicare Part B reimbursement to 340B providers in acknowledgement of the fact that the
  standard reimbursement amount, Average Sales Price (ASP) plus 6% (4.3% during sequestration)
  results in excessive reimbursement on product acquired at a 340B prices and incentives for 340B
  covered entities to furnish higher priced products in higher cost settings. 3 340B providers sued
  HHS to block this rule, as well as other Medicare cost-containment efforts intended to curtail
  excessive profiteering by hospitals at Medicare’s expense. 4

  Medicare Part D: In 2019, the HHS OIG issued a report regarding Medicare Part D Rebates for
  Prescriptions filled at 340B Contract Pharmacies and found that, for just a sample of claims
  (554,549 reviewed in 2014), manufacturers would have paid rebates of up to $74.7 million more to
  Part D if those claims had not been 340B eligible. This occurs because manufacturers, under their
  contracts with Part D plan sponsors, typically are not responsible for Part D rebates on 340B-
  discounted utilization. 5 Moreover, as in the Part B context, the opportunity for a significant profit on
  340B drugs, has led providers to steer patients to 340B sites of care or 340B product. These
  discounts covered by the definition of “negotiated price,” causing Part D plans to reimburse 340B
  providers at rates well above their acquisition costs, sometimes fraudulently. 6

  Medicaid: In 2010, lobbyists for 340B covered entities were successful in inserting language in the
  Medicaid Drug Rebate statute to ensure that the right of 340B covered entities to receive discounts
  is superior to the right of Medicaid to receive rebates in the context of managed Medicaid
  utilization. This little noted provision reads:

                   (j) Exemption of organized health care settings

                   (1) Covered outpatient drugs are not subject to the requirements of
                       this section [the Medicaid Drug Rebate statute] if such drugs
                       are—
                   (A) dispensed by health maintenance organizations, including
                       Medicaid managed care organizations that contract under
                       section 1396b(m) of this title; and

                   (B) subject to discounts under section 256b [340B] of this title.


  3 Medicare Program: Hospital Outpatient Prospective Payment and Ambulatory Surgical Center Payment
  Systems and Quality Reporting Programs, 82 Fed. Reg. 59216 (Dec. 14, 2017).
  4 See, e.g., “Hospitals Sue HHS Over Negotiated Price Disclosure Rule,” citing suits over site neutral payments

  and 340B payments. https://www.modernhealthcare.com/payment/hospitals-sue-hhs-over-negotiated-
  price-disclosure-rule (Dec. 4, 2019).
  5 HHS OIG, “Medicare Part D Rebates for Prescriptions Filled at 340B Contract Pharmacies,” Report No.

  A-03-16-00002 (July 2019).
  6 See DOJ, Kentucky Hospital to Pay over $10 Million to Resolve False Claims Act Allegations (Nov. 20, 2019),

  available at https: //www.justice.gov/opa/pr/kentucky-hospital-pay-over-10-million-resolve-false-claims-
  act-allegations. (Alleging, for a 340B hospital and health center, that “Medicare Part D payers—often paid
  many multiples of the price paid by ‘cash’ payers for the same medication.”) See United States ex rel. Stone v.
  Jewish Hosp. & St. Mary’s Healthcare, Inc., et al., Civil Action No. 3:17-294 (W.D. Ky.). Amended Complaint at
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  42 U.S.C. 1396r-8(j) (brackets added). Given that nearly 70% of Medicaid beneficiaries are enrolled
  in a managed Medicaid plan, this provision likely results in either billions of dollars being siphoned
  away from Medicaid or hundreds of millions of dollars in duplicate discounts. 7

  Finally, Lilly conducted a patient survey to ensure that individual or uninsured patient out-of-
  pocket expenses would not be impacted. Based on that analysis, we believe that it continues to be
  the case the vast majority of patients only benefit indirectly from 340B profits generated by
  contract pharmacy utilization. There is no evidence that contract pharmacies are able to identify
  340B patients at time of dispense nor are the 340B discounts extended, in whole or in part, to these
  patients.

      III.     Lilly’s Proposal: Rescind the 2010 Contract Pharmacy Guidance
  HHS has been asked by 340B Health and others to deem Lilly’s Cialis distribution program a
  violation of the “must offer” provision. Were HHS to endorse this view, the Agency would be
  converting the Contract Pharmacy Guidance from an interpretive rule into a statement of law. The
  result would effectively render a nonbinding sub-regulatory guidance into a binding legislative rule
  in violation of the Administrative Procedures Act (APA). Any such pronouncement would also be a
  clear consummation of the Agency’s decision-making process, immediately susceptible to a legal
  challenge.

  If HHS takes no action and permits the HRSA interpretation to stand, 340B Health will likely either
  sue the Agency for withholding action it deems required or sue Lilly under a theory yet developed.
  In either case, HHS will be drawn into the matter as the underlying validity of the Contract
  Pharmacy Guidance is litigated.

  To avoid litigation, we propose that HHS immediately rescind the Contract Pharmacy Guidance and,
  if HHS believes there is a statutory basis, to re-issue it as a formal regulation pursuant to notice and
  comment rulemaking. While we may question HHS’s basis for asserting such authority, we believe
  that this would at least be procedurally consistent with the APA and consistent with recent
  Executive Orders (13,891 and 13,892) that (1) prohibit treating noncompliance with guidance as a
  violation unless there is a clear violation of statute or regulations and (2) require agencies to
  review their guidance documents and to withdraw those that lack the force and effect of law.

                                                   ***
  Lilly has profound concerns about the explosive growth of the 340B program and the lack of
  oversight and control over contract pharmacies in general. Simply put, it is not sustainable and
  manufacturers seeking to continue participating in the Medicaid Drug Rebate Program may be
  pushed out by the unchecked growth in 340B. Please contact me at hakim_anat@lilly.com to
  arrange for a time to meet to discuss this important issue.

  Sincerely,


  Anat Hakim
  General Counsel, Eli Lilly and Company

  7Elizabeth Hinton, et al, 10 Things to Know about Medicaid Managed Care, (Dec. 16, 2019)
  https://www.kff.org/medicaid/issue-brief/10-things-to-know-about-medicaid-managed-care/
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                      Attachment 1: Lilly’s May 18, 2020 Letter to HRSA
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  By E-mail (KPedley@hrsa.gov)

  May 18, 2020

  Rear Admiral Krista M. Pedley
  Director, Office of Pharmacy Affairs (OPA)
  Health Resources and Services Administration (HRSA)
  5600 Fishers Lane
  Parklawn Building, Mail Stop 10C-03
  Rockville, MD 20857

  RE:     Availability of 340B-Priced Cialis® (tadalafil) Erectile Dysfunction Presentations to
          Contract Pharmacies

  Dear RADM Pedley:

  Eli Lilly and Company (Lilly) is writing to inform the Health Resources and Services Administration
  (HRSA) that, effective July 1, 2020, we are instructing wholesalers to discontinue our practice of
  voluntarily honoring requests for 340B “contract pharmacies” for orders of certain Cialis®
  (tadalafil) presentations. Unless HRSA objects and states that it believes our proposed
  discontinuation of voluntary contract pharmacy 340B discounts is unlawful, providing us the
  reasons for its conclusions, Lilly will no longer honor contract pharmacy-related requests for 340B-
  priced purchases of the following products after that date: Cialis 10mg (00002-4463-30), Cialis 20
  mg (00002-4464-30), and Cialis 2.5mg (00002-4465-34). In addition, and as discussed further
  below, Lilly is formally challenging HRSA’s quarterly listings, which include contract pharmacy
  listings, pursuant to Section IV(b) of the Pharmaceutical Pricing Agreement (PPA). Under the PPA,
  we believe HRSA is obligated to respond to this letter.1

  The presentations of Cialis at issue here are indicated solely for erectile dysfunction and are all
  available as generic formulations.2 We are prepared to provide a public letter for posting on the
  HRSA website describing our discontinuation of voluntary contract pharmacy discounts.

  7We believe this action is prudent, reasonable and lawful, particularly in light of the substantial and
  ongoing expansion of contract pharmacy participation in the 340B program and the now
  overwhelming evidence demonstrating that contract pharmacy transactions result in 340B
  duplicate discounts and diversion. Based on these concerns, coupled with the risk that contract
  pharmacy transactions may be considered a basis a Civil Money Penalties or subject to onerous
  repayment obligations, Lilly feels compelled to take this action at this time.

  1PPA § IV(b).
  2In prior correspondence to HRSA, we articulated and explained our position, based on applicable statutory
  provisions, that presentations of Cialis that are indicated solely for erectile dysfunction are not “covered
  outpatient drugs” for purposes of the Medicaid Drug Rebate Program or the 340B Program and, thus, are not
  subject to the 340B ceiling price. See Lilly Letter to HRSA RE: CIALIS® (TADALAFIL) 340B CEILING PRICING
  (Mar. 17, 2015). Although we disagree with HRSA’s assessment of the concerns we raised in that
  correspondence, we do not assert it as a basis at this time for our decision to cease voluntarily providing
  340B discounts in connection with contract pharmacy purchases.



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  We explain, below, why Lilly does not believe 340B-priced purchases for contract pharmacies are
  consistent with or required by 42 U.S.C. § 256b (Section 340B). HRSA’s 340B contract pharmacy
  guidance, 75 Fed. Reg. 10,272 (Mar. 5, 2010) (Contract Pharmacy Guidance), is inconsistent with
  the plain language of the statute and has resulted in systematic violations of the core requirements
  of Section 340B, as reflected in numerous audits and government reports. Further, developments
  after the issuance of the Contract Pharmacy Guidance demonstrate that the continued, wholesale
  adoption of the Contract Pharmacy Guidance is deeply flawed as a matter of public policy, both
  because HRSA has not considered subsequent statutory and regulatory developments and because
  the Contract Pharmacy Guidance is itself inconsistent with other guidance issued by HRSA. Most
  fundamentally, however, the Contract Pharmacy Guidance is both procedurally and substantively
  unlawful. We request that HRSA inform Lilly by June 17, 2020 if it objects to Lilly’s proposed course
  of action.

  Specifically, Lilly believes it has discretion to decline Section 340B contract pharmacy orders for at
  least the following reasons:

      1. Contract Pharmacy Arrangements Violate the Statutory Prohibition Against
         Diversion.

  The 340B statute is clear: “With respect to any covered outpatient drug that is subject to an
  agreement under this subsection, a covered entity shall not resell or otherwise transfer the drug
  to a person who is not a patient of the entity.”3 HRSA’s Contract Pharmacy Guidance is
  inconsistent with this straightforward prohibition. In particular, the Contract Pharmacy Guidance,
  by its terms, requires the transfer of a drug to a legal person (typically a for-profit pharmacy) that is
  not a “covered entity” or a “patient.”4

  Clearly, a contract pharmacy is not a “covered entity.” The plain language of Section 340B limits a
  manufacturer’s obligation to offer 340B prices to “each covered entity.”5 In defining the term
  “covered entity,” the statute states that it is “an entity” that “is one” of the specified entity types.
  Contract pharmacies are clearly not one of those “types.”

  3 42 U.S.C. § 256b(a)(5)(B) (emphasis added).
  4 The term “person” under Section 340B includes legal entities as well as individuals. “Under the Dictionary
  Act, ‘the wor[d] “person” . . . include[s] corporations, companies, associations, firms, partnerships, societies,
  and joint stock companies, as well as individuals.’” Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751, 2768
  (2014); see also FCC v. AT&T Inc., 562 U.S. 397, 404-05 (2011) (“We have no doubt that ‘person,’ in a legal
  setting, often refers to artificial entities. The Dictionary Act makes that clear”); Al Fayed v. CIA, 229 F. 3d 272,
  274 (D.C. Cir. 2000); Soup, Inc. v. FTC, 449 F. 2d 1142, 1143 (D.C. Cir. 1971) (per curiam) (“On the contrary,
  the statutory guidelines for the interpretation of Congressional acts, 1 U.S.C. § 1 (1970), make clear that the
  term “person” should ordinarily be taken to “include corporations * * * as well as individuals.”). Moreover,
  here, the statutory “context” of Section 340B likewise confirms that the term “person” in the subsection
  prohibiting the “re[sale] or . . . transfer” of drugs under Section 340B “to a person who is not a patient of the
  entity” makes unlawful the “resale” or “transfer” of drugs under Section 340B to any non-patient of a covered
  entity, which necessarily includes ineligible “legal entities” as well as “individuals.” 42 U.S.C. §
  256b(a)(5)(B). Otherwise, “covered entities” could circumvent the prohibition against the resale or transfer
  of such drugs by simply transferring them to third party corporations on a wholesale basis. Such a reading
  would fundamentally undermine the program as designed by Congress and would be entirely inconsistent
  with the statutory scheme as a whole.
  5 42 U.S.C. § 256b(a)(1).




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  Because the entities that Congress expected to participate in the program are listed, specifically, in
  the definition of “covered entity,” the addition of contract pharmacies as a new category of
  recipients of covered outpatient drugs at 340B discount prices is prohibited.6 The interpretive
  canon expressio unius est exclusio alterius requires that enumerated statutory lists must be read to
  exclude entities not expressly included.7 Accordingly, by permitting contract pharmacies to
  participate in the program, we are concerned HRSA has exceeded its authority under Section 340B.8

  HRSA has argued in the past, without statutory support, that contract pharmacies should receive
  340B-discounted product because they should be deemed “agents” of covered entities.9 We do not
  agree with the premise that contract pharmacies act as “agents” to covered entities. Further, the
  plain language of the statute forecloses this argument. The statute specifically limits a
  manufacturer’s obligation to offer 340B discounted prices to “each covered entity,” not to “each
  covered entity and its agents.” The plain language of the statute defines the term “covered entity”
  to only mean “an entity” that “is one” of certain specified types. An agent of a covered entity is not
  the “entity” that “is one of the specified types.”

  Indeed, the statute separately refers repeatedly to numerous agents of different 340B program
  participants and principals, showing clearly that a reference to the principal is not a reference to
  the agent. For instance, the statute separately and distinctly refers to “covered entities” and agents
  of those covered entities, such as “associations or organizations representing the interests of such
  covered entities.”10 In fact, Section 340B separately refers to other participants and their agents
  repeatedly.11

  The plain language of a statute must be read in context.12 Here, the context shows that Congress
  identified when the 340B program applied to covered entities and various third parties, including
  those representing covered entities. Where, as here, Congress referred separately to principals and
  agents, when included, there is no basis to contend that references to covered entities include
  contract pharmacies.


  6 Id. § 256b(a)(4).
  7 See, e.g., Ethyl Corp. v. EPA, 51 F.3d 1053, 1061 (D.C. Cir. 1995) (“[M]ention of one thing implies the exclusion
  of another thing”); accord Independent Ins. Agents of America, Inc. v. Hawke, 211 F. 3d 638, 644 (D.C. Cir.
  2000); American Methyl Corp. v. EPA, 749 F.2d 826, 835-36 (D.C. Cir. 1984).
  8 This is especially true where contract pharmacies act as both “340B program administrator” and “340B

  contract pharmacy” for a given entity, suggesting that it is the for-profit commercial pharmacy that is the true
  beneficiary of the program and the 340B entity is effectively “renting out” its eligibility.
  https://www.walgreens.com/businesssolutions/payer/340BComplete.jsp.
  9 See, e.g., 61 Fed. Reg. 43549, 43550 (Aug. 23, 1996) (stating “[t]he contract pharmacy would act as an agent

  of the covered entity”).
  10 42 U.S.C. § 256b(d)(3)(B)(vi) (separately referring to “covered entities” and an agent of those covered

  entities, “associations or organizations representing the interests of such covered entities”).
  11 42 U.S.C. § 256b(d)(1)(B)(v) (referring separately to “wholesalers” contracted with manufacturers); id. §

  256b(d)(2)(B)(iii) (referencing “distributors”); id. § 256b(d)(3)(B)(iii) (separately referring to manufacturers
  and “third parties” subject to discovery).
  12 See Bell Atlantic Tel. Cos. v. FCC, 131 F.3d 1044, 1047 (D.C. Cir. 1997) (“[T]extual analysis is a language game

  played on a field known as ‘context.’ The literal language of a provision taken out of context cannot provide
  conclusive proof of congressional intent, any more than a word can have meaning without context to
  illuminate its use. In short, ‘the meaning of statutory language, plain or not, depends on context.’”).


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  Congress’s intent is all the more clear here. Congress has, over the course of 28 years, amended the
  340B statute no fewer than four times, adding four types of covered entities through those
  amendments. Despite that, Congress has never chosen to recognize or codify HRSA’s contract
  pharmacy guidance or the Agency’s position that contract pharmacies may serve as “agents” of
  covered entities for purposes of 340B discounts.

  Given, for all the reasons described above, that a contract pharmacy is not a covered entity, it is
  equally clear that by the very nature of the way contract pharmacies operate, their use necessarily
  involves a prohibited “transfer” of 340B discounted product to a non-340B covered entity, the
  contract pharmacy. As HRSA knows, contract pharmacies are dependent on virtual inventories and
  retrospective replenishment. These mechanisms necessarily involve a “transfer” of drug products
  to the contract pharmacies.

  Under the “virtual inventory” systems and “retroactive replenishment” models that contract
  pharmacies use, the contract pharmacies do not segregate 340B inventory from non-340B
  inventory; rather, they have their own stock of inventory, purport to track dispensed prescriptions
  through a “virtual” inventory, and then supposedly retroactively seek to “replenish” product at
  340B pricing for purchases allegedly determined—sometimes weeks or months after they are
  filled—to have been 340B-eligible. In other words, contract pharmacies dispense drugs from their
  own stock, and then determine later which prescriptions they will assert were 340B-eligible. For
  those prescriptions, they request—through an entirely retrospective process—replacement
  product at 340B pricing. The 340B product, which should only be dispensed to 340B patients, is
  then used, in reality, for non-340B patients.

  Thus, these contract pharmacy operations necessarily constitute the transfer of 340B-discounted
  drugs to non-patients of the covered entity and, accordingly, are statutorily prohibited diversion.
  Agency guidance and interpretations are invalid and unlawful when they are inconsistent with the
  controlling statute.13

  Indeed, the prohibited transfer of 340B product to non-340B patients under the replenishment
  model is not even consistent with HRSA’s own guidance – in addition to its violating the statute.
  HRSA’s “bill to/ship to” requirements are included in the Contract Pharmacy Guidance.14 Under the
  “bill to/ship to” model required by HRSA, the covered entity should pay for the product to be used
  for 340B patients and the manufacturer may be directed to “ship to” the contract pharmacy.15
  Although we believe that this guidance is itself inconsistent with the statute, contract pharmacy
  transactions cannot be said to comply even with HRSA’s existing guidance.

       2. The Contract Pharmacy Guidance Is Unlawful, Ultra Vires, and Beyond HRSA’s
          Statutory Authority.

  The Contract Pharmacy Guidance results in direct harm to Lilly. By listing contract pharmacies
  among the entities eligible to obtain product priced at a Section 340B discount, HRSA applies this

  13 See, e.g., Gonzales v. Oregon, 546 U.S. 243, 269-75 (2006) (invalidating an interpretive rule regulating
  medical practice on grounds that the agency interpretation was inconsistent with the controlling statute);
  PhRMA v. Dep’t of Health & Human Servs., 138 F. Supp. 3d 31, 54 (D.D.C. 2015) (invalidating HRSA’s orphan
  drug exclusion “interpretive rule” because it was contrary to the language of Section 340B).
  14
     See 75 Fed. Reg. at 10,277.
  15
     Id.


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   Contract Pharmacy Guidance to Lilly, each quarter.16 Unless HRSA rescinds the Contract Pharmacy
   Guidance or clarifies that it permits, but does not obligate, manufacturers to honor contract
   pharmacy orders, then those quarterly listings will continue to purport to obligate Lilly to provide
   Section 340B discounts to contract pharmacies, contrary to the statute. For the reasons cited in this
   letter, Lilly is formally challenging HRSA’s quarterly listings pursuant to Section IV(b) of the
   Pharmaceutical Pricing Agreement (PPA).17 Under the PPA, HRSA is obligated to respond.18

   As a result of HRSA’s actions, Lilly suffers injury and risk of loss when it provides, as dictated by
   HRSA, Section 340B discounts to entities that are not entitled to them. Indeed, as described below,
   the unlawful expansion of Section 340B through the Contract Pharmacy Guidance results in
   diversion of Section 340B drug sales, duplicate discounts in violation of Congress’s commands in
   Section 340B, and other harm to State and Federal healthcare programs.19

   To state the basis for our challenge under Section IV(b) of the PPA in greater detail, we believe that
   the Contract Pharmacy Guidance is ultra vires, beyond HRSA’s statutory authority, and issued in
   violation of the Administrative Procedure Act (APA). The Guidance was not authorized under one
   of the defined areas for which Congress delegated rulemaking authority to HRSA. In addition, the
   quarterly listings and underlying Guidance, to the extent they should be interpreted as mandating
   340B discounts on contract pharmacy transactions, represent a substantive change in the rights
   and obligations of affected parties, which HRSA has failed to promulgate by regulation, in violation
   of the APA. Finally, the guidance and any assertion or enforcement of its purported requirements is
   incompatible with the President’s recent Executive Order and the Department of Justice’s Brand
   Memorandum.

   HRSA failed to comply with the APA’s requirements for adopting substantive rules when it issued
   the Contract Pharmacy Guidance. The Contract Pharmacy Guidance is a “substantive,” i.e.,
   “legislative,” rule because, as a result of it, HRSA “create[d] new law, rights or duties” for regulated
   parties under the 340B program.20 Indeed, the Contract Pharmacy Guidance had a substantial
   “legal effect” on Lilly and other regulated entities because the expansion of Section 340B to include
   contract pharmacies imposed legal obligations, risks, and burdens on drug manufacturers, as well
   as on covered entities and contract pharmacies.21 Thus, despite the label of a “guidance” document
   and the agency’s assertion that the guidance does not create new rights or obligations for regulated

   16 See Pharmaceutical Pricing Agreement, § III(a) (“Pursuant to the requirements under section 340B of the
   [Public Health Service] Act, the Secretary agrees to the following: (a) to make available a list of covered
   entities on the HRSA, Office of Pharmacy Affairs web site (http://www.bphc.hrsa.gov/opa/), or otherwise, for
   access by participating Manufacturers, covered entities, State Medicaid agencies, and the general public. This
   information will be updated, to the extent practicable, on a quarterly basis”), available at
   https://www.hrsa.gov/sites/default/files/hrsa/opa/pdf/pharmaceutical-pricing-agreement-example.pdf.
   17 See id. § IV(b) (“The Manufacturer may challenge the presence of an entity on the list of eligible entities

   issued by the Secretary.”)
   18 Id.
   19 See 42 U.S.C. § 256b(a)(5)(A) (“Prohibiting duplicate discounts or rebates”); id. § 256b(a)(5)(B)

   (“Prohibiting resale of drugs”).
   20 General Motors Corp. v. Ruckelshaus, 742 F.2d 1561, 1565 (D.C. Cir. 1984) (en banc); see also Elec. Privacy

   Info. Ctr. v. U.S. Dep't of Homeland Sec., 653 F.3d 1, 6-7 (D.C. Cir. 2011) (“The practical question inherent in the
   distinction between legislative and interpretive regulations is whether the new rule effects a substantive
   regulatory change to the statutory or regulatory regime.”).
   21 See PhRMA v. HHS, 43 F. Supp. 3d at 46 (explaining that agency action is substantive rule where it affects

   “legal rights”).


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   parties, see 75 Fed. Reg. at 10,273, the “guidance” was clearly a substantive rule. The massive
   growth in the number of contract pharmacies, the corresponding increase in 340B sales
   attributable to those purchases, and the evidence of diversion and duplicate discounts all
   underscore the substantive purpose and effect of the “guidance.”22 The fact that these transactions
   can also serve as a basis for Civil Money Penalties and/or require manufacturer repayments are
   further evidence that guidance has a substantive purpose and effect.

   HRSA, however, did not comply with the procedural requirements that the APA imposes for
   substantive regulations.23 In the Contract Pharmacy Guidance, HRSA acknowledged that it was not
   undertaking the procedure required for a legislative rule, asserting incorrectly that the regulatory
   action being taken was “exempt from notice and comment rulemaking under the APA.”24

   HRSA did not proceed through a substantive rulemaking, because it could not do so; it had and has
   no such authority. In Pharm. Research & Mfrs. of Am. v. Dep’t of Health & Human Servs., 43 F. Supp.
   3d 28 (D.D.C. 2014), the district court struck down a regulation adopted by HRSA that purported to
   implement a statutory provision. In that case, the district court held that HHS lacked authority to
   engage in such rulemaking. Id. at 31, 39. The court explained that HHS’s authority to adopt
   regulations with respect to the 340B program was limited to discrete areas expressly specified in
   the 340B statute, and the court held that HRSA’s limited regulatory authority did not extend to
   regulations interpreting or implementing the relevant provisions of Section 340B. Thereafter, the
   district court rejected HHS’s effort to readopt the same policy as an interpretive rule. See also
   Pharm. Research & Mfrs. of Am. v. Dep’t of Health & Human Servs., 131 F. Supp. 3d 31 (D.D.C. 2015).
   Under this precedent, HHS lacks statutory authority to implement the Contract Pharmacy Guidance
   as it was not issued based on the limited authority provided by Congress.

   Executive Order 13891 (Oct. 9, 2019), confirms that HRSA cannot impose substantive obligations
   on regulated parties through the Contract Pharmacy Guidance and HRSA’s retention of the guidance
   violates the Order. Section 2 of the Executive Order 13891 explains that an agency may not
   regulate “the public without following the rulemaking procedures of the APA,” and that “[e]ven
   when accompanied by a disclaimer that [the guidance] is non-binding, a guidance document issued
   by an agency may carry the implicit threat of enforcement action if the regulated public does not
   comply.” In response, the Executive Order directs, among other things, that “it is the policy of the
   executive branch, to the extent consistent with applicable law, to require that agencies treat
   guidance documents as non-binding both in law and in practice . . . .”

   Additionally, the Department of Justice likewise has confirmed that agency guidance documents
   may not be used to coerce regulated parties like Lilly into taking action or refraining from taking
   action beyond what is required by the terms of the applicable law or lawful regulation. See Rachel
   Brand, Associate Attorney General, Limiting Use of Agency Guidance Documents in Affirmative Civil
   Enforcement Cases at 1 (Jan. 25, 2018) (“Brand Memo”). Under the Brand Memo, (1) “Guidance
   documents cannot create binding requirements that do not already exist by statute or regulation,”
   (2) “the Department may not use enforcement authority to effectively convert agency guidance
   documents into binding rules,” and (3) “noncompliance with guidance documents [should not be
   used as] a basis for proving violations of applicable law in [affirmative civil enforcement] cases.” Id.
   at 2.

   22 See notes 31-32, supra.
   23 See 5 U.S.C. § 553(b), (c) (setting forth agency obligations for notice-and-comment rulemaking).
   24 75 Fed. Reg. at 10,273.




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   In some instances, HRSA representatives have sought to justify its authority to issue the Contract
   Pharmacy Guidance by stating that Section 340B does not prohibit these arrangements. That
   analysis ignores, however, that an agency may only exercise authority affirmatively granted by
   Congress. An unbroken line of D.C. Circuit Court of Appeals cases has steadfastly rejected the
   notion of “presuming” statutory authority because there is no express statutory prohibition against
   it.25 This argument inverts the appropriate analysis. The question is not did Congress prohibit the
   Agency from taking an action; the question is did Congress specifically authorize that action.

        3. The Contract Pharmacy Guidance Should Not Be Relied Upon or Enforced Because It
           Has Been Shown To Be Inconsistent with the Premise Upon Which It Was Issued.

   When HRSA issued guidance permitting covered entities to enter into multiple contract pharmacy
   arrangements, with no numerical or geographical limitations, it rejected stakeholder concerns that
   unlimited contract pharmacy arrangements would necessarily result in diversion or statutorily
   prohibited Medicaid duplicate discounts.26 In proposing the guidance, HRSA expressly asserted
   that, “[t]o date, there has been no evidence of drug diversion or duplicate manufacturer’s discounts
   on 340B drugs” related to various contract pharmacy arrangements.27 But, just as stakeholders
   feared and predicted, the available evidence makes clear that, as more and more prescriptions have
   been dispensed through contract pharmacies, diversion and duplicate discounts have resulted. We
   also are concerned that the breadth of penalties under the CMP Rule, under which HRSA may seek
   to assess a penalty of up to $5,000 per “instance of overcharge,” would be vastly and unlawfully
   expanded by the inappropriate application of the Contract Pharmacy Guidance.

   There are many reasons why the premise for the Guidance—HRSA’s assumption that contract
   pharmacies would not lead to diversion and duplicate discounts—has failed. Unlike in-house
   pharmacies, contract pharmacies do not possess or have access to the records of the covered
   entity’s patients sufficient to make a “patient” determination (even under the 1996 standards which
   are often themselves not followed by covered entities28 or contract pharmacies29). Often “patient”

   25 See, e.g., Aid Ass’n for Lutherans v. USPS, 321 F.3d 1166, 1174 (D.C. Cir. 2003) (rejecting as “entirely
   untenable under well-established case law” the argument “that the disputed regulations are permissible
   because the statute does not expressly foreclose the construction advanced by the agency”); ExxonMobil Gas
   Mktg. Co. v. FERC, 297 F.3d 1071, 1088 (D.C. Cir. 2002) (“We have repeatedly admonished federal agencies
   that jurisdiction may not be presumed based solely on the fact that there is not an express withholding of
   jurisdiction.”); Nat’l Mining Ass’n v. U.S. Dep’t of Interior, 105 F.3d 691, 695 (D.C. Cir. 1997) (rejecting the
   “extreme position” that “because Congress did not specifically preclude” an agency action, the court “should
   defer to [the agency’s] interpretation of the statute”); Am. Petroleum Inst. v. EPA, 52 F.3d 1113, 1120 (D.C. Cir.
   1995) (“[W]e will not presume a delegation of power based solely on the fact that there is not an express
   withholding of that power.”); Ethyl Corp. v. EPA, 51 F.3d 1053, 1060 (D.C. Cir. 1995) (“We refuse ... to presume
   a delegation of power merely because Congress has not expressly withheld such power.”).
   26 75 Fed. Reg. at 10,273, 10,274 (noting comments raising concerns about diversion by contract pharmacies).
   27 72 Fed. Reg. 1540, 1540 (Jan. 12, 2007).
   28 See, e.g., Genesis HealthCare v. Azar No.:4-19-cv-1531-RBH (D.S.C. Dec. 18, 2019).
   29 See, e.g., GAO, Federal Oversight of Compliance at 340B Contract Pharmacies Needs Improvement (June 2018)

   (discussing “identified noncompliance at contract pharmacies,” including diversion findings in HRSA audits),
   available at https://www.gao.gov/assets/700/692697.pdf; OIG, Contract Pharmacy Arrangements in the 340B
   Program, OEI-05-13-00431 (Feb. 2014), at 1-2 (“We found that contract pharmacy arrangements create
   complications in preventing diversion, and that covered entities are addressing these complications in
   different ways. . . . In some cases, these different methods lead to differing determinations of 340B eligibility


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   determinations are adjudicated by contract pharmacies hastily, and/or inconsistently with 340B
   program standards, on the back end, after insufficient coordination with covered entities and
   consistent with an improper financial incentive to mischaracterize commercial customers as 340B
   “patients.” Sprawling contract pharmacy networks are major sources of prohibited diversion,
   despite covered entities’ obligations to police and oversee their contract pharmacy relationships.

   Oversight agencies, including the Government Accountability Office (GAO) and Health and Human
   Services Office of Inspector General (HHS OIG), as well as Congressional committees, have all noted
   that the increased use of contract pharmacies has created substantial drug diversion and duplicate
   discount issues, problems, and violations. For example:

       •   2011 GAO Report: Manufacturer Discounts in the 340B Program Offer Benefits, but Federal
           Oversight Needs Improvement: GAO concluded that “[o]perating the 340B program in
           contract pharmacies creates more opportunities for drug diversion compared to in-house
           pharmacies.” GAO further noted the “[i]ncreased use of the 340B program by contract
           pharmacies and hospitals may result in a greater risk of drug diversion, further heightening
           concerns about HRSA’s reliance on participants’ self-policing to oversee the program”.30

       •   2014 HHS OIG Report: Contract Pharmacy Arrangements in the 340B Program: In 2014,
           HHS OIG reported that contract pharmacies create “complications” in preventing diversion
           because “some covered entities that do dispense 340B-purchased drugs to Medicaid
           beneficiaries through their contract pharmacies did not report a method to avoid duplicate
           discounts.” OEI-05-13-00431, at 1–2, see also id. at 16. HHS OIG also concluded, quite
           troublingly, that findings of noncompliance did not lead to HRSA terminating the covered
           entities’ permission to use multiple pharmacy arrangements. Id. at 7, 9–15.

       •   2018 HHS OIG Testimony: Examining Oversight Reports on the 340B Drug Pricing Program:
           In its testimony, OIG stated that it “has identified a number of challenges and
           inconsistencies arising from the widespread use of contract pharmacy arrangements.” OIG
           Testimony Before the U.S. Senate Committee on Health, Education, Labor, and Pensions
           (May 15, 2018), at 5. OIG further stated that “many contract pharmacies dispense drugs to
           all of their customers—340B-eligible or otherwise—from their regular inventory.”

       •   2018 GAO Report: Federal Oversight of Compliance at 340B Contract Pharmacies Needs
           Improvement: In this report, GAO concluded that “[t]he identified noncompliance at
           contract pharmacies raises questions about the effectiveness of covered entities’ current
           oversight practices.”31 For example, GAO found that approximately two-thirds (66 percent)
           of diversion findings in HRSA audits (from FY 2012 to FY 2017, based on results posted to
           HRSA’s website as of February 2018), “involved drugs distributed at contract pharmacies.”32

   across covered entities. That is, two covered entities may categorize similar prescriptions differently (i.e.,
   340B-eligible versus not 340B-eligible) in their contract pharmacy arrangements.”), available at
   https://oig.hhs.gov/oei/reports/oei-05-13-00431.pdf.
   30 GAO, Manufacturer Discounts in the 340B Program Offer Benefits, but Federal Oversight Needs Improvement,

   GAO-11-836: Published: Sep 23, 2011. Publicly Released: Sep 23, 2011. https://www.gao.gov/products/GAO-
   11-836 (emphasis added).
   31 GAO, Federal Oversight of Compliance at 340B Contract Pharmacies Needs Improvement, at 44 (June 2018),

   GAO-18-480, available at https://www.gao.gov/assets/700/692697.pdf (emphasis added).
   32 Id. at 44 & n. 64.




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               Despite this significant conclusion, GAO further noted that “the number of contract
               pharmacy oversight findings may be limited by the fact that officials from HRSA’s contractor
               said that its auditors rely on verbal responses from entity officials about any internal review
               or self-audits conducted by the entity.”33

          •    2018 House Energy and Commerce Committee Report: Review of the 340B Drug Pricing
               Program: In 2018, the House Energy and Commerce Committee issued a report echoing the
               findings of HHS OIG, concluding that contract pharmacy arrangements lead to diversion of
               340B drugs. The committee’s review of HRSA’s audit files revealed that many covered
               entities have engaged in diversion. Further, in one quarter of the audit files reviewed by
               committee staff, HRSA recommended that the covered entity improve its oversight of their
               contract pharmacy arrangement to prevent diversion of 340B drugs at the contract
               pharmacy. See H. Comm. on Energy & Commerce, at 39. The Committee emphasized its
               concerns by recommending that “[a]ll covered entities should perform independent audits
               of their contract pharmacies at regular intervals to ensure 340B program compliance.” Id.
               at 76. The Committee endorsed auditing by manufacturers to stem unlawful diversions,
               underscoring how HRSA’s limiting the actions that a manufacturer may take to police
               compliance undermines the program’s integrity.

   Publicly available audit statistics published by HRSA support these concerns. Notably:

                                           Entities with Contract      Entities with Contract
                     Fiscal     Entity
                                            Pharmacy Adverse         Pharmacy Adverse Findings
                     Year       Audits
                                               Findings (All)               (Diversion)
                     2013        94                  31                          19
                     2014        104                 45                          34
                     2015        200                 92                          71
                     2016        200                 77                          61
                     2017        199                 81                          69
                     2018        200                 64                          42
                     2019        187                 52                          33

   Finally, Lilly’s own data demonstrate that contract pharmacies are a frequent source of
   noncompliance.

          •    2013-2020 Analysis of Covered Entity and Contract Pharmacy Self-Disclosures: Over the
               past seven years, Lilly has received 125 disclosures in which contract pharmacy
               noncompliance was reported, involving either or both duplicate discounts and diversion.

          •    2019 Contract Pharmacy Managed Medicaid Duplicate Discount Review: In 2019, Lilly
               engaged Kalderos, a third-party, to review Managed Medicaid rebate requests from five
               states (CA, LA, FL, TX and NJ) to identify instances of duplicate 340B discounts for selected
               covered entities from 2014 to 2018. Kalderos identified approximately $12.4M worth of
               duplicate discounts related to contract pharmacy utilization in connection with just this
               small sample.


   33   Id. at 44.


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   The statutory prohibitions against diversion and duplicate discounts are absolute and central to the
   program. HRSA should not—and manufacturers ought not to be required to—accept, year after
   year, report after report, and audit after audit, the ongoing violations of the Section 340B
   prohibitions against diversion and duplicate rebates involving contract pharmacies. Compelling
   evidence—including in government reports and congressional oversight hearings—demonstrate
   that the rampant growth of 340B transactions processed at or through contract pharmacies is an
   intractable problem. We believe that HRSA should, as a consequence, clarify, at a minimum, that
   manufacturers are not obligated to honor contract pharmacy-related orders for 340B-priced
   product.

        4. The Contract Pharmacy Guidance Should Not Be Relied Upon or Enforced Because It
           Harms Other Federal and State Healthcare Programs.

   There are also various ways in which the 340B Program in general, and contract pharmacies
   specifically, interfere with other federal healthcare programs.

   Lilly has identified, as noted in greater detail above, widespread duplicate Medicaid discounts.
   Similarly, in January 2020, the Centers for Medicare & Medicaid Services (CMS) acknowledged the
   problem and noted that the burden of identifying duplicate discounts for contract pharmacy
   utilization falls onto the states:

           CMS is also aware that some states face challenges with avoiding duplicate
           discounts on 340B drugs dispensed by 340B contract pharmacies. Contract
           pharmacies may be unable to prospectively identify claims for 340B purchased
           drugs before billing states, because the prescriptions are not generally identified as
           340B at the point of sale by the 340B covered entity. Collectively, states are
           responsible for retrospectively identifying claims, which is time consuming, often
           requires employing the services of contractors, and can be rather complex given the
           involvement of the number of contract pharmacies.34

   The administrative burden placed on states and manufacturers to identify and resolve disputes
   because of the opaque and unreliable nature of contract pharmacy data is costly and time
   consuming. Moreover, because these disputed Medicaid rebates must be held in abeyance, states
   are denied Medicaid rebate payments pending resolution of these disputes, a process that can take
   years.

   For example, concerns have been raised about diversion and the fact that contract pharmacies
   reduce Medicaid rebate payments to California’s Medicaid program, Medi-Cal. As a consequence,
   these concerns have prompted the state’s Legislative Analysts to consider whether lawmakers
   should prohibit or limit the dispensing of 340B drugs to Medi-Cal enrollees at contract pharmacies.
   The California Governor’s 2018-2019 budget proposal sought to eliminate the use of 340B
   discounts in Medi-Cal and cited challenges in administering the federal Medicaid drug rebate
   program in conjunction with the 340B program (preventing prohibited duplicate discounts after
   the fact).35 Our understanding is that consideration of the proposed prohibition is continuing.

   34 CMCS Informational Bulletin, Best Practices for Avoiding 340B Duplicate Discounts in Medicaid (Jan. 8,
   2020).
   35 The 2018-19 Budget: The Governor’s Medi-Cal Proposal for the 340B Drug Pricing Program (Mar. 22,

   2018), available at https://lao.ca.gov/reports/2018/3790/medi-cal-340B-032118.pdf.


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   In addition, with respect to the Medicare Part D program, we note that a 2019 HHS OIG report
   regarding Medicare Part D Rebates for Prescriptions filled at 340B Contract Pharmacies found that ,
   for just a sample of claims (554,549 reviewed in 2014), manufacturers would have paid rebates of
   up to $74.7 million more to Part D if those claims had not been 340B eligible. This occurs because
   manufacturers, under their contracts with Part D plan sponsors, typically are not responsible for
   Part D rebates on 340B-discounted utilization.36

   The risks and costs of contract pharmacy business practices to Federal and State healthcare
   programs further underscore why the Contract Pharmacy Guidance should be rescinded now or, at
   a minimum, why HRSA should publicly acknowledge that manufacturers have discretion to not
   follow that Guidance.

        5. The Contract Pharmacy Guidance Should Not Be Relied Upon or Enforced Because It
           Conflicts with Other HRSA Guidance And Does Not Consider Subsequent
           Developments.

   The Contract Pharmacy Guidance was published on March 5, 2010.37 Although HRSA stated that it
   considered whether the Contract Pharmacy Guidance imposed additional burdens on
   manufacturers, HRSA could not have evaluated the impact of the Guidance in light of the Affordable
   Care Act (ACA), enacted on March 23, 2010, which fundamentally increased the burdens associated
   with this Guidance.

   The ACA included a number of new provisions that subject manufacturers to potential liability for
   Civil Monetary Penalties (CMPSs) and a “repayment” obligation for mis-stated 340B ceiling prices.
   By expanding the purchases subject to 340B discount prices, the Contract Pharmacy Guidance
   imposed additional burdens as a consequence of the ACA provisions. These additional burdens
   were not contemplated or considered by HRSA when it adopted the Contract Pharmacy Guidance.
   Since HRSA has not evaluated the Contract Pharmacy Guidance in light of the ACA or the 340B CMP
   Rule, which became effective January 1, 2019, the Guidance should be rescinded.

   HRSA should also rescind the Contract Pharmacy Guidance because it conflicts with other guidance
   issued by HRSA. Specifically, the Contract Pharmacy Guidance conflicts with both the guidance
   requiring 340B discounts to be asserted at the time of purchase and the “bill to/ship to” guidance.
   It is arbitrary and capricious for HRSA to maintain, without explanation, program requirements
   that are mutually inconsistent.38


   36
      A recent settlement also illustrates concerns related to the impact on the Medicare Part D Program. In
   November 2019, Jewish Hospital and St. Mary’s Healthcare Inc., doing business as Pharmacy Plus and
   Pharmacy Plus Specialty, paid $10 million to settle claims that they overbilled Medicare Part D plans. See DOJ,
   Kentucky Hospital to Pay over $10 Million to Resolve False Claims Act Allegations (Nov. 20, 2019), available at
   https://www.justice.gov/opa/pr/kentucky-hospital-pay-over-10-million-resolve-false-claims-act-allegations.        The
   whistleblower complaint in that case included allegations related to a hospital and health center’s
   participation in the 340B program and, in particular, alleged that patients with third party insurance—
   “frequently including Medicare Part D payers—often paid many multiples of the price paid by ‘cash’ payers
   for the same medication.” See United States ex rel. Stone v. Jewish Hosp. & St. Mary’s Healthcare, Inc., et al., Civil
   Action No. 3:17-294 (W.D. Ky.). Amended Complaint at 29.
   37 75 Fed. Reg. 10,272 (March 5, 2010).
   38 NCTA v. Brand X Internet Servs., 545 U.S. 967, 981 (2005) (highlighting that agency is obligated to explain

   inconsistency in practice under the APA).


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   We do not believe there is any argument that the contract pharmacy “replenishment” models are
   consistent with other HRSA guidance. HRSA has clearly said that 340B covered entities “are
   responsible for requesting 340B pricing at the time of the original purchase.”39 The operation of
   340B contract pharmacies contradicts that guidance.

   In relevant part, the guidance provides:

                   Does HRSA authorize covered entities to retroactively change a
                   previous quarters’ transactions from a non-340B transaction into a
                   340B price transaction . . . ?

                   HRSA does not authorize covered entities to reclassify a purchase as
                   340B eligible after the fact. Covered entities participating in the
                   340B Program are responsible for requesting 340B pricing at the
                   time of the original purchase. . . .40

   Despite a clear prohibition on covered entities against reclassifying transactions after the time of
   purchase, this is exactly how contract pharmacies operate. There are multiple reports and audits
   that document that contract pharmacy purchases are “replenishment” orders, wherein a contract
   pharmacy does not assert the 340B price at the time that the product is actually dispensed to the
   purported 340B patient that receives that product. The assertion of a 340B price comes only many
   days or weeks or months later.41 It is illogical that a covered entity would not be permitted to
   undertake such re-characterizations but that contract pharmacies, on behalf of themselves and/or
   covered entities, would be.

   As discussed earlier in this letter, the contract pharmacy replenishment models also conflict with
   HRSA “bill to/ship to” guidance, which is explicitly incorporated into the Contract Pharmacy
   Guidance. These multiple conflicts constitute additional reasons that the Contract Pharmacy
   Guidance should not be seen as creating a mandate. Indeed, in our view, the Guidance should be
   rescinded or, at a minimum, clarified to confirm that manufacturers have discretion to not follow it.

                                               *       *        *

   We designate this letter as confidential, proprietary, and reflective of trade secrets. This letter
   contains confidential commercial and financial information within the meaning of the Freedom of
   Information Act (FOIA),42 the relevant Federal criminal statute,43 the FOIA regulations,44 and other
   applicable laws, regulations, or policies. Specifically, this information is subject to exemption from


   39 See HRSA/OPA 340B FAQs, at https://www.hrsa.gov/opa/faqs/index.html (last visited April 21, 2020).
   HRSA, in its guidance, seems to hold out an exception to this rule where a covered entity notifies a
   manufacturer and secures the agreement of the manufacturer to the reclassification. Covered entities
   provide no such notice of contract pharmacy reclassifications, and Lilly would not, in any event, agree to
   them, as they are contrary to the statute for all the reasons discussed in this letter.
   40 HRSA/OPA 340B FAQs, at https://www.hrsa.gov/opa/faqs/index.html (last visited April 21, 2020).
   41 See, e.g., OIG Testimony Before the U.S. Senate Committee on Health, Education, Labor, and Pensions (May

   15, 2018); 80 Fed. Reg. 52,300, 52,308 (Aug. 28, 2015).
   42 5 U.S.C. § 552.
   43 18 U.S.C. § 1905.
   44 17 C.F.R. § 200.83.




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   mandatory disclosure under Exemption 4 of FOIA,45 and any other exemption applicable by law.
   Accordingly, we expect this letter and the documents contemplated by this letter will be kept in a
   non-public file and that HRSA will deny access to them by any unauthorized third person or entity.
   We also hereby request that your Office, department, and all constituent agencies provide notice to
   us of any request under FOIA for, or intended FOIA disclosure of, such information, records, or
   materials. This request is made pursuant to 5 U.S.C. §§ 552(b)(4), (6) & (7); 45 C.F.R. §§ 5.65(d),
   5.67 & 5.68; Executive Order 12600; and Attorney General Ashcroft FOIA Memorandum (Oct. 12,
   2001), available at http://www.justice.gov/archive/oip/foiapost/2001foiapost19.htm. Lilly also
   requests that reasonably prompt notice be provided to Lilly, at the contact information provided
   below, of any request by a third party for discovery of this letter, or of any proposal or apparent
   intention by a third party or your Office, department, or any constituent agency to enter this letter
   in the public record. We request that such notice be provided reasonably in advance of satisfying
   any such discovery request or, to the extent possible, that Lilly be enabled to seek confidential
   treatment of the letter or to seek relief in an appropriate court. These requests do not expire.

   Please feel free to contact me at derek.asay@lilly.com directly if you have any questions or need any
   additional information. Thank you for your attention to this very important matter.

   Sincerely,




   Derek L. Asay
   Senior Director, Government Strategy, Lilly USA


   cc: Josh O’Harra, Assistant General Counsel, Eli Lilly and Company




   45   5 U.S.C. § 552(b)(4).


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    From:          HRSA 340B Audit
    To:            Derek L Asay
    Cc:            Josh Tomas O"Harra
    Subject:       [EXTERNAL] Response to Derek L Asay - Eli Lilly USA - 00002 - Availability of Cialis-Tadalafil - 06-11-2020
    Date:          Thursday, June 11, 2020 1:34:09 PM
    Attachments:   image001.png


         EXTERNAL EMAIL: Use caution before replying, clicking links, and opening
   attachments.

   Mr. Derek L. Asay
   Senior Director, Government Strategy
   Lilly USA, LLC
   Lilly Corporate Center
   Indianapolis, Indiana 46285

   Dear Dr. Siegel:

   The Health Resources and Services Administration (HRSA) is responding to Lilly USA’s
   (Lilly) May 18, 2020, correspondence regarding contract pharmacies in the 340B Drug Pricing
   Program (340B Program). Many of the arguments advanced in Lilly’s letter are not
   persuasive, and we do not address the arguments here. Our primary point is the importance
   for manufacturers to observe the guidance so that the program can meet its statutory
   objectives. Contract pharmacies, which are only a mode for dispensing 340B drugs and not
   independent covered entities, serve a vital function in covered entities’ ability to serve
   underserved and vulnerable populations. Therefore, HRSA strongly encourages Lilly to
   reconsider its decision to discontinue contract pharmacy 340B discounts.

   Many health centers and other safety net organizations receiving HRSA grants do not have an
   in-house pharmacy and are able to participate in the 340B Program only through a contract
   pharmacy. Lilly’s position, especially if expanded to other drugs, would have the effect of
   denying underserved and vulnerable populations served by these covered entities access to
   340B discounted drugs. This result would undermine the entire 340B Program and the
                                                                 [1]
   Congressional intent behind enactment of the 340B statute.        Even for those covered
   entities with in-house pharmacies, Lilly’s refusal to honor contract pharmacy orders would
   have the effect of significantly limiting access to 340B discounted drugs for many underserved
   and vulnerable populations who may reside in geographically isolated areas and rely on a
   contract pharmacy as a critical point obtaining their prescriptions.

   While HRSA has published contract pharmacy advice in guidance, rather than through binding
   regulations, HRSA strongly encourages Lilly to reconsider its position. Lilly’s refusal to sell
   340B priced drugs to covered entities through contract pharmacy arrangements would have a
   significant negative impact on the nation’s safety net, especially at a time when the health care
   community is under great pressure to address the current COVID-19 pandemic. We note that
   the contract pharmacy guidance was issued only after notice and public comment, and that
   stakeholders had the opportunity to address any concerns about the scope of the guidance
   before its final adoption.

   Lilly indicated in its letter that it considers its letter to be “confidential and proprietary not
   subject to release or disclosure under FOIA or otherwise.” HRSA fails to see any confidential
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   or proprietary information in the letter. If Lilly believes that portions of its correspondence are
   confidential or proprietary, please respond with an explanation and reference to the specific
   portions of the letter that Lilly believes are confidential and proprietary.

   Sincerely,


   Krista M. Pedley, PharmD, MS
   RADM, USPHS
   Assistant Surgeon General
   Director, Office of Pharmacy Affairs
   Health Resources and Services Administration
   Email: 340baudit@hrsa.gov




   cc: Josh O’Harra, Assistant General Counsel, Eli Lilly and Company


   [1]
      The intent of the 340B Program is to permit covered entities to stretch scarce Federal resources as far as
                                                                                                [1]
   possible, reaching more eligible patients and providing more comprehensive services. (See:       See: H.R. REP No.
   102-384(II), at 12 (1992) (Conf. Report).
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                Limited Distribution Plan Notice for Eli Lilly and Company Products

  This notice provides information to 340B eligible covered entities seeking to purchase any
  product manufactured or distributed by Eli Lilly and Company or its subsidiaries and affiliates
  (labeler codes 00002, 00077, and 66713).Effective September 1, 2020, Lilly is limiting
  distribution of all 340B ceiling priced product directly to covered entities and their child sites
  only. Covered Entities will not be eligible to purchase Eli Lilly and Company products at the
  340B ceiling price for shipment to a contract pharmacy.

  Covered entities that do not have an in-house pharmacy may contact 340B@lilly.com regarding
  the exception process to designate a contract pharmacy location.

         Special Exception for Insulins: Contract Pharmacies that Pass on 340B Discounts

  Consistent with the spirit of Executive Order 13,937, “Access to Affordable Life-saving
  Medications” (July 24, 2020), Lilly will grant an exception to the limited distribution program
  described above for Lilly insulin products (NDCs attached) subject to a 340B covered entity and
  their contract pharmacys’ ability to ensure that the following conditions are met:

      • Any and all 340B eligible patients will be able to acquire their Lilly insulins through the
      contract pharmacy at the 340B price (typically $.03 per 3 mL pen or $.10 per 10 mL vial) at
      the point-of-sale;

      • Neither the covered entity nor the contract pharmacy marks-up or otherwise charges a
      dispensing fee for the Lilly insulin;

      • No insurer or payer is billed for the Lilly insulin dispensed; and,

      • The covered entity provides claim-level detail (CLD) demonstrating satisfaction of these
      terms and conditions.

  Lilly shares the goal of ensuring that 340B patients directly benefit from the significant 340B
  discounts on Lilly insulins.

  To take advantage of this exception for insulins contact 340B@lilly.com. Please be prepared to
  submit documentation demonstrating that the conditions set forth above will be satisfied.
  Lilly is committed to compliance with the 340B statute and to responsible distribution of its
  products. If you have any questions regarding this notice please contact Lilly at 340B@lilly.com.

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                                Special Exception for Insulins:
               Contract Pharmacies that Pass on 340B Discounts Applicable NDCs

         NDC              Brand Name                        Product Description
     00002-7510-01   HUMALOG               HUMALOG 100UCD 10.000000 MML
     00002-7510-17   HUMALOG               HUMALOG 100UCD 3 MILLILITER
     00002-7516-59   HUMALOG               HUMALOG CARTRIDGE 100UCD 15.000000 MML
     00002-7714-59   HUMALOG               HUMALOG JR KWIKPEN 100UCD 15 MILLILITER
     00002-8799-59   HUMALOG               HUMALOG KWIKPEN 100UCD 15 MILLILITER
     00002-7511-01   HUMALOG               HUMALOG MIX 75/25 100UCD 10 MILLILITER
     00002-7512-01   HUMALOG               HUMALOG MIX50/50 100UCD 10 MILLILITER
     00002-8798-59   HUMALOG               HUMALOG MIX50/50 KWIKPEN 100UCD 15 MILLILITER
     00002-8797-59   HUMALOG               HUMALOG MIX75/25 KWIKPEN 100UCD 15 MILLILITER
     00002-8824-27   HUMULIN R U500        HUMULIN 500 UCD 6.000000 MILLILITER
     00002-8501-01   HUMULIN R U500        HUMULIN R 500UCD 20 MILLILITER
     00002-7737-01   INSULIN LISPRO        INSULIN LISPRO 100 UCD 10.000000MILLILITER
     00002-7752-05   INSULIN LISPRO        INSULIN LISPRO KWIKPEN JR 100UCD 15 MILLILITER
     00002-8222-59   INSULIN LISPRO        INSULIN LISPRO KWIKPEN 100UCD 15.000000 MILLILITER
     00002-8233-05   INSULIN LISPRO        INSULIN LISPROMIX75/25 KWIKPEN 100UCD 15 MILLILITER
     66733-0773-01   INSULIN LISPRO        INSULIN LISPRO 100 UCD 10.000000 MILLILITER
     66733-0822-59   INSULIN LISPRO        INSULIN LISPRO 100 UCD 15.000000 MILLILITER
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                    EXHIBIT F
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  Date: August 17, 2020
  Re: 340B Contract Pharmacy Pricing


  Dear Valued Partner,

         AstraZeneca to date has processed chargebacks associated with Contract Pharmacy
  arrangements consistent with the approach proposed in the Health Resources and Services
  Administration’s (“HRSA”) April 2010 guidance. Beginning on October 1, 2020, AstraZeneca plans
  to adjust this approach such that AstraZeneca only will process 340B pricing through a single
  Contract Pharmacy site for those Covered Entities that do not maintain their own on-site
  dispensing pharmacy.
         To implement this new approach, AstraZeneca will stop processing 340B chargebacks for
  all 340B Contract Pharmacy arrangements effective October 1, 2020. Any 340B Covered Entity
  that does not have an outpatient, on-site dispensing pharmacy should contact AstraZeneca to
  arrange for a Contract Pharmacy of its choice to be eligible to receive 340B pricing on behalf of
  the Covered Entity. To initiate this process, please contact Membership@AstraZeneca.com.
         340B Pricing for Contract Pharmacies will be honored on all invoices, consistent with
  AstraZeneca’s historic approach, through September 30, 2020. For additional information or
  questions, please contact your AstraZeneca Account Director.


  Sincerely,




  Odalys Caprisecca
  Executive Director, Strategic Pricing & Operations
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                   EXHIBIT G
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            DEPARTMENT OF HEALTH & HUMAN SERVICES                           Office of the Secretary

                                                                            The General Counsel
                                                                            Washington, D.C. 20201




                 ADVISORY OPINION 20-06 ON CONTRACT PHARMACIES
                            UNDER THE 340B PROGRAM
                                DECEMBER 30, 2020

           The 340B Program, established by section 340B of the Public Health Service Act
  (“PHSA”), 42 U.S.C. § 256b, imposes limitations on the prices manufacturers may charge for
  medications sold to specified health care facilities, referred to as “covered entities.” Those
  facilities include public hospitals and community health centers, many of which provide safety-
  net services to the poor. The 340B Program requires drug manufacturers, as a condition of
  coverage of their products under Medicaid (see Social Security Act (“SSA”) § 1902(a)(54)) and
  Medicare Part B (see, e.g., SSA §§ 1842(o)(1), 1847A), to agree to sell their covered outpatient
  drugs to covered entities at no more than the statutorily-set “ceiling price.” See SSA
  § 1927(a)(1).

         Many covered entities enter into written agreements with pharmacies (“contract
  pharmacies”) to distribute their covered outpatient drugs to the entities’ patients. Under those
  agreements, the covered entity orders and pays for the 340B drugs, which are then shipped from
  the manufacturer to the contract pharmacy. Although the contact pharmacy has physical
  possession of the drug, it has been purchased by the covered entity.

          Recently, certain drug manufacturers participating in the 340B Program are declining to
  distribute covered outpatient drugs through contract pharmacies at the ceiling price.

          The Office of the General Counsel (“OGC”) has received numerous requests from both
  manufacturers and covered entities to address whether it is proper for a drug manufacturer
  participating in the 340B Program to refuse to provide covered outpatient drugs at the 340B
  ceiling price to a covered entity for drugs distributed at the entity’s contract pharmacies. For the
  reasons set forth below, we conclude that to the extent contract pharmacies are acting as agents
  of a covered entity, a drug manufacturer in the 340B Program is obligated to deliver its covered
  outpatient drugs to those contract pharmacies and to charge the covered entity no more than the
  340B ceiling price for those drugs.




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                                             I.      Analysis

  A.      The Plain Meaning of Section 340B Requires Manufacturers to Sell Covered Drugs
          to Covered Entities at or Below the Ceiling Price, Independent of Whether the
          Entity Opts to Use Contract Pharmacies to Dispense the Drugs

          “[O]ur inquiry begins with the statutory text, and ends there as well if the text is
  unambiguous.” BedRoc Ltd., LLC v. United States, 541 U.S. 176, 183 (2004). Section 340B of
  the PHSA, entitled “Limitation on prices of drugs purchased by covered entities,” states, in
  relevant part, that “[t]he Secretary shall enter into an agreement with each manufacturer of
  covered outpatient drugs under which the amount required to be paid . . . to the manufacturer for
  covered outpatient drugs . . . purchased by a covered entity . . . does not exceed [the ceiling
  price].” 42 U.S.C. § 256b(a)(1) (emphasis supplied). Furthermore, “[e]ach such agreement . . .
  shall require that the manufacturer offer each covered entity covered outpatient drugs for
  purchase at or below the applicable ceiling price if such drug is made available to any other
  purchaser at any price.” Id. As a result, the obligations placed on manufacturers by 340B are set
  out in a Pharmaceutical Pricing Agreement (“PPA”) between the Secretary and the respective
  manufacturer. See generally Astra USA, Inc. v. Santa Clara Cty., 563 U.S. 110 (2011)
  (describing role of PPAs in 340B Program). The exemplar PPA provides, in pertinent part, as
  follows:

          Pursuant to requirements under section 340B of the Act, the Manufacturer agrees
          to the following: (a) for single source and innovator multiple source drugs, to
          charge covered entities a price for each unit of the drug that does not exceed an
          amount equal to [the ceiling price].

  PPA § II(a). The exemplar PPA Addendum provides that a “[m]anufacturer shall offer each
  covered entity covered outpatient drugs for purchase at or below the applicable ceiling price, if
  such drug is made available to any other purchaser at any price.” PPA Addendum ¶ 2.

           Thus, the core requirement of the 340B statute, as also reflected in the PPA and
  Addendum, is that manufacturers must “offer” covered outpatient drugs at or below the ceiling
  price for “purchase by” covered entities. This fundamental requirement is not qualified,
  restricted, or dependent on how the covered entity chooses to distribute the covered outpatient
  drugs. All that is required is that the discounted drug be “purchased by” a covered entity. In this
  setting, neither the agency nor a private actor is authorized by section 340B to add requirements
  to the statute. See Radovich v. Nat’l Football League, 352 U.S. 445, 454 (1957) (“Congress
  itself has placed the private antitrust litigant in a most favorable position . . . . In the face of such
  a policy this Court should not add requirements to burden the private litigant beyond what is
  specifically set forth by Congress in those laws.”); Financial Planning Ass’n v. SEC, 482 F.3d
  481 (D.C. Cir. 2007); Baker v. Bell Textron, Inc., 2020 WL 5513431, at *4 (N.D. Tex. 2020)
  (“The Court will not add requirements to the law that Congress could have included but did
  not.”).

          It is against this backdrop that we examine the 340B phrase “purchased by.” It is
  difficult to envision a less ambiguous phrase and no amount of linguistic gymnastics can ordain
  otherwise. The Court recently cautioned against seeing ambiguity where none exists. For

                                                      2
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  example, a regulation must be “genuinely ambiguous” before resorting to deference. Kisor v.
  Wilkie, ___U.S.___, 139 S.Ct. 2400, 2415 (2019). Here, as we understand it, the medications at
  issue are sold by the manufacturer to the covered entity; the covered entity takes title and the
  covered entity pays the manufacturer either directly or through the manufacturer’s distributor. In
  either event, the arrangement between the manufacturer and covered entity is a straightforward
  “sale” which “consists of the passing of title from the seller [drug manufacturer] to the buyer
  [covered entity] for a price.” Uniform Commercial Code (U.C.C.) § 2-106. 1 A “buyer” is, by
  definition, a “purchaser.” BLACK’S LAW DICTIONARY (11th ed. 2019) (defining “buyer” as
  “[s]omeone who makes a purchase”). The situs of delivery, be it the lunar surface, low-earth
  orbit, or a neighborhood pharmacy, is irrelevant. See U.C.C. § 2-401(2) (“Unless otherwise
  explicitly agreed title passes to the buyer at the time and place at which the seller completes his
  performance with reference to the physical delivery of the goods . . . ”).

          Given the lack of ambiguity in the plain text of the statute, the above analysis is
  dispositive. Bostock v. Clayton Cty., ___U.S.___, 140 S. Ct. 1731, 1739 (2020) (“[W]hen the
  meaning of the statute’s terms is plain, our job is at an end.”). This straightforward textual
  interpretation, aside from dutifully reflecting the plain meaning of the statute, has the added
  benefit of comporting with the statute’s purpose and history.

  B.       The Purpose and History of the 340B Program Reflect the Provision’s Plain
           Meaning

           1.       Contract Pharmacies Have Been an Integral Part of the 340B Program Since
                    Its Outset

          The 340B Program was created to allow covered entities “to stretch scarce Federal
  resources as far as possible, reaching more eligible patients and providing more comprehensive
  services.” H.R. Rept. No. 102–384(II), at 12 (1992). As the Health Resources and Services
  Administration (“HRSA”)—the agency primarily responsible for administering the 340B
  Program—has explained in prior guidance, a substantial number of covered entities are
  practically constrained to rely on contract pharmacies to access the 340B Program; if
  manufacturers can simply shut off this means of access, the Program’s effectiveness will be
  greatly diminished. See Notice Regarding Section 602 of the Veterans Health Care Act of 1992;
  Contract Pharmacy Services, 61 Fed. Reg. 43,549, 43,550 (Aug. 23, 1996); see also Removal of
  Safe Harbor Protection for Rebates Involving Prescription Pharmaceuticals and Creation of
  New Safe Harbor Protection for Certain Point-of-Sale Reductions in Price on Prescription
  Pharmaceuticals and Certain Pharmacy Benefit Manager Service Fees, 84 Fed. Reg. 2340
  (proposed Feb. 6, 2019) (OIG proposed rule discussing distribution of pharmaceuticals). 2


  1
           The U.C.C. can be used for statutory construction, even if it does not directly apply. See Comm’r of
  Internal Revenue v. Brown, 380 U.S. 563, 571 (1965) (interpreting provision of the Internal Revenue Code by
  pointing to U.C.C. as support for the “ordinary sense” of the word “sale”).
  2
           The argument that the statute also evinces a purpose to prevent drug diversion or duplicate discounting, and
  therefore prohibits contract-pharmacy arrangements, is not persuasive. That is like arguing that the main purpose of
  federal healthcare programs are their antifraud provisions. In the absence of the core 340B discount mechanism,
  there would be no need for the duplicate-discount or diversion provisions.

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           This is particularly pertinent given that at the outset of the 340B Program only
  approximately 500 out of 11,500 covered entities (less than 5 percent) used in-house pharmacies.
  See 61 Fed. Reg. at 43,550. This is not surprising: the Program is aimed at benefiting providers
  that are small, remote, resource-limited, receiving federal assistance, or serving disadvantaged
  populations. See, e.g., 42 U.S.C. § 256b(a)(4) (defining covered entities); Astra USA, 563 U.S.
  at 113. These are the poster children of providers that one would expect to lack an in-house
  pharmacy. To champion a policy, ungrounded in the language of the statute, that would
  foreclose 340B discounts to 95 percent of covered entities and foreclose discounts to the neediest
  of this cohort is inconsistent with purpose of the Program and common sense. Had Congress
  intended to reach such a bizarre result, it would have used language affirmatively precluding the
  use of contract pharmacies as arms in the distribution channel, but it did not. Doe v. Hesketh,
  828 F.3d 159, 167 (3d Cir. 2016) (the result is “so bizarre that Congress could not have intended
  it”).

          2.       The Department’s Longstanding Interpretation of Section 340B Reflects the
                   Plain Language of the Section by Recognizing the Use of Contract
                   Pharmacies

           The Department’s longstanding interpretation of the statute, as expressed through
  guidance, is that manufacturers are required to offer ceiling prices even where contract
  pharmacies are used. In 1996, HRSA issued the aforementioned guidance and stated, “[i]t has
  been the Department’s position that if a covered entity using contract pharmacy services requests
  to purchase a covered drug from a participating manufacturer, the statute directs the
  manufacturer to sell the drug at the discounted price.” 61 Fed. Reg. at 43,549. HRSA’s
  assertion cannot be attacked as impermissible legislative rulemaking, 3 because the guidance only
  sought to “explain the statutory language by clarifying the meaning given by the Department to
  particular words or phrases”—it “create[d] no new law and create[d] no new rights or duties” not
  otherwise present in the statute. See id. at 43,550. HRSA reaffirmed its interpretation of the
  statute in guidance issued in 2010. See HRSA, Notice Regarding 340B Drug Pricing Program–
  Contract Pharmacy Services, 75 Fed. Reg. 10,272 (Mar. 5, 2010).

          The Department’s consistent position over the past 24-plus years would factor into a
  court’s interpretation of the statute. Courts defer to agency expertise in the interpretation of
  statutes, especially where they govern complex administrative regimes. See, e.g., United States
  v. Mead Corp., 533 U.S. 218, 227–28 (2001). Conversely, a court would be skeptical of an
  abrupt about-face. See, e.g., Wyeth v. Levine, 555 U.S. 555, 577–81 (2009). Courts may also
  look to agency implementation and the actions of regulated parties to determine the meaning of a
  statute. See, e.g., S.D. Warren Co. v. Me. Bd. of Env’t Prot., 547 U.S. 370, 377–78 (2006) (even
  though relevant agencies had not “formally settled the definition, or even set out agency
  reasoning,” the “administrative usage of [the disputed term] in this way confirm[ed the Court’s]
  3
            See, generally, Pharm. Rsch. and Mfrs. of Am. v. U.S. Dep’t of Health and Human Servs., 43 F. Supp. 3d
  28, 41 (D.D.C. 2014) (“Within section 340B, Congress specifically authorized rulemaking in three places: (1) the
  establishment of an administrative dispute resolution process, (2) the ‘regulatory issuance’ of precisely defined
  standards of methodology for calculation of ceiling prices, and (3) the imposition of monetary civil sanctions.”);
  Pharm. Rsch. and Mfrs. of Am. v. U.S. Dep’t of Health and Human Servs., 138 F. Supp. 3d 31, 39 (D.D.C. 2015)
  (even if “HHS lacks the authority to promulgate the rule as a binding statement of law, HHS is not forbidden
  altogether from proffering its interpretation of the statute”).

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  understanding”); Bd. of the Trs. of Leland Stanford Jr. Univ. v. Roche Molecular Sys., 563 U.S.
  776, 792–93 (2011) (“[I]t is worth noting that our construction of the [statute in question] is
  reflected in the common practice among parties operating under the Act.”). Here, contract-
  pharmacy arrangements have been utilized, and honored by manufacturers, since 1996 and
  earlier. 4

  C.       Manufacturers’ Rationale for Precluding the Use of Contract Pharmacies Is Not
           Supported by the Language of the Statute and Leads to Absurd Results

          The primary rationale offered for cutting off contract pharmacies—that such
  arrangements lead to a heightened risk of diversion and duplicate discounts—makes clear that
  manufacturers are attempting to circumvent section 340B’s procedures for resolving disputes
  between manufacturers and covered entities. See, e.g., K Mart Corp. v. Cartier, Inc., 486 U.S.
  281, 291 (1984) (“In ascertaining the plain meaning of the statute, the court must look to the
  particular statutory language at issue, as well as the language and design of the statute as a
  whole.”) (emphasis supplied). Not surprisingly, the manufacturers have been unable to point to
  any language in the statute that would support this hobbling interpretation. If a manufacturer is
  concerned that a covered entity has engaged in duplicate discounting or diversion, see 42 U.S.C.
  § 256b(a)(5)(A), (B), it must (1) conduct an audit, and (2) submit the claim to the administrative
  dispute resolution (“ADR”) process, see §256b(d)(3)(A). The PPA even provides that a covered
  entity’s failure to comply with the audit requirement does not “relieve the Manufacturer from its
  obligation to conform to the pricing requirements as provided in section 340B(a) of the Act and
  the Agreement.” PPA § IV(d). Moreover, the Department specifically rejected this reasoning
  when issuing regulations regarding the calculation of the 340B ceiling price. In responding to a
  comment regarding perceived 340B violations, HRSA stated “[m]anufacturers cannot condition
  sale of a 340B drug at the 340B ceiling price because they have concerns or specific evidence of
  possible non-compliance by a covered entity.” 340B Drug Pricing Program Ceiling Price and
  Manufacturer Civil Monetary Penalties Regulation, 82 Fed. Reg. 1210, 1223 (Jan. 5, 2017). In
  addition, “[m]anufacturers that suspect diversion are encouraged to work in good faith with the
  covered entity, conduct an audit per the current audit guidelines, or contact HHS directly.” Id.
  Certain manufacturers’ newfound and unilateral refusal to sell drugs through contract pharmacies
  is at odds with the structure and intended operation of the statute. 5


  4
          The fact that Congress has not amended the 340B statute to expressly exclude contract-pharmacy
  arrangements from coverage can be read as supporting the agency’s longstanding construction. See Valerie C.
  Brannon, Cong. Rsch. Serv., R45153, Statutory Interpretation: Theories, Tools, and Trends 63 (2018) (discussing
  “presumption of legislative acquiescence”).
  5
            For 24-plus years, manufacturers have offered the ceiling price to covered entities using contract-pharmacy
  distribution. To the extent manufacturers now have sincere concerns about diversion or duplicate discounting, the
  340B statute speaks directly to how they should proceed. See also 340B Drug Pricing Program; Administrative
  Dispute Resolution Regulation, 85 Fed. Reg. 80,632, 80,633 (Dec. 14, 2020) (“The purpose of the ADR process is to
  resolve . . . claims by manufacturers, after a manufacturer has conducted an audit as authorized by section
  340B(a)(5)(C) of the PHSA, that a covered entity has violated the prohibition on diversion or duplicate discounts.”).
  Manufacturers who shut off contract-pharmacy access may have also skipped over any effort to resolve disputes
  with covered entities in “good faith.” PPA § IV(a)(1) (“If the Manufacturer believes that a covered entity has
  violated the prohibition against resale or transfer of covered outpatient drugs, section 340B(a)(5)(B), or the
  prohibition against duplicate discounts or rebates, section 340B(a)(5)(A) . . . [t]he Manufacturer shall attempt in
  good faith to resolve the matter with the covered entity.”); 85 Fed. Reg. at 80,633 (“Historically, HHS has

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          Relatedly, it has also been argued that the use of contract pharmacies is inconsistent with
  the 340B statute’s prohibition on diversion of discount drugs. We start with the basic
  proposition that subsection (a)(5)(B) was intended to prohibit the diversion of 340B drugs. See
  42 U.S.C. § 256b(a)(5)(B) (“With respect to any covered outpatient drug that is subject to an
  agreement under this subsection, a covered entity shall not resell or otherwise transfer the drug to
  a person who is not a patient of the entity.”). According to one court, the 340B Program places a
  “ban on ‘diversion,’ i.e., a requirement that covered entities refrain from reselling or otherwise
  transferring covered drugs to non–340B entities[.]” Cty. of Santa Clara v. Astra USA, Inc., 257
  F.R.D. 207, 211–12 (N.D. Cal. 2009), vacated on other grounds, Astra USA, 563 U.S. 110; see
  also 85 Fed. Reg. at 80,636 (subsection (a)(5)(B) prohibits diversion).

          Diversion means that, on net, covered outpatient drugs end up in the hands of persons
  who are not patients of the covered entity. The movement of drugs purchased by the covered
  entity and ultimately dispensed to the patient by a contract pharmacy can involve complex
  inventory models. Whether diversion occurs, however, should be independent of the inventory-
  accounting model contemplated by the agreement between the contract pharmacy and the
  covered entity. See Toyota Motor Sales, U.S.A., Inc. v. United States, 35 Ct. Int’l Trade 1205
  (2011) (noting that inventory-accounting methods are authorized to determine tariffs and
  drawbacks); Sears, Roebuck & Co. v. King County, 487 P.2d 221, 223, 5 Wash. App. 273, 276
  (1971) (for tax purposes “identification by any reasonable and reliable [inventory-accounting]
  method [is proper], rather than by a strict tracing method.”).

          The notion that the legitimate transfer of drugs to contract pharmacies so that they can be
  dispensed to patients of the covered entity constitutes diversion not only ignores the realities of
  accounting, but also that the covered entity and contract pharmacy are not distinct, but function
  as principal-agent. As explained, the covered entity remains the purchaser whether it chooses to
  have discount drugs distributed through an in-house pharmacy or a contract pharmacy. See also
  61 Fed. Reg. at 43,550 (“The mechanism does not in any way extend this pricing to entities
  which do not meet program eligibility.”); id. (agreeing that “[a]s a general rule, a person or entity
  privileged to perform an act may appoint an agent to perform the act unless contrary to public
  policy or an agreement requiring personal performance”) (citing Restatement (Second) of
  Agency § 17 (Am. L. Inst. 1995)); id. (“The contract pharmacy would act as an agent of the
  covered entity, in that it would not resell a prescription drug but rather distribute the drug on
  behalf of the covered entity. This situation is akin to a covered entity having its own
  pharmacy.”); id. at 43,552 (under “bill to/ship to” arrangement contemplated in guidance, “[t]he
  contract pharmacy does not purchase the drug. Title to the drugs passes to the covered entity”
  and “the manufacturer is still selling to the covered entities”); cf. Abramski v. United States, 573
  U.S. 169, 186 (2014) (“[t]he individual who sends a straw [purchaser] to a gun store to buy a
  firearm is transacting with the dealer, in every way but the most formal” such that “straw
  arrangements are not a part of the secondary market, separate and apart from the dealer’s sale”)
  (emphasis in original). 6


  encouraged manufacturers and covered entities to work with each other to attempt to resolve disputes in good
  faith.”).
  6
          Similar reasoning still applies under the so-called “replenishment” model, where the contract pharmacy
  dispenses medications from a general inventory to the covered entity’s patient and “replenishes” its general

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          In addition, the argument that use of contract pharmacies constitutes an illicit “transfer”
  leads to absurd results. For instance, if a covered entity uses a courier service to send discount
  drugs to its patient, this, too, would be appear to be an illegal “transfer” to the shipper. Any
  arrangement that did not involve a physical hand-off from the employee of a covered entity to
  the patient him or herself could be an unauthorized “transfer” under the 340B statute. To avoid
  such absurdities, and under the canon of noscitur a sociis, 7 the phrase “otherwise transfer” must
  be interpreted in conjunction with the word “resell” and the title of that specific provision
  (“Prohibiting resale of drugs”) (emphasis supplied). 8

          This conclusion is reinforced by an understanding of the practical realities of drug
  distribution. Such distribution often functions through intermediaries. For example, covered
  entities often purchase 340B discounted drugs from wholesalers, not directly from
  manufacturers. And yet, the obligations of § 256b(a) are placed on manufacturers. If it were
  correct that distribution to any entity other than a covered entity freed the manufacturer from the
  obligation to charge no more than the ceiling price, then there would be no firm basis for the
  wholesalers to charge-back discounts to the manufacturer. Large portions of the current 340B
  Program would seem to turn on solely manufacturers’ voluntary choice to offer the ceiling price,


  inventory with discount medications purchased by the covered entity. The inventory commingling (drugs purchased
  by covered entity(ies) under the auspices of 340B, commingled with what the contract pharmacy might otherwise
  have) does not change the analysis. Cf. Martin Marietta Corp. v. N.J. Nat’l Bank, 612 F.2d 745, 749 (3d Cir. 1979)
  (“identification” of goods for purposes of U.C.C. § 2-501 not broken even if “seller removes some of the fungibles
  and later replaces them . . . because such conduct is quite natural with fungibles and cannot be taken as an intent to
  negate the buyer’s interest in the goods”); Apex Oil Co. v. Belcher Co. of N.Y., Inc., 855 F.2d 997, 1,003–05 (2d Cir.
  1988) (“[W]here fungible goods are concerned, identification is not always an irrevocable act and does not foreclose
  the possibility of substitution.”); Matter of Bevill, Bresler & Schulman Asset Mgmt. Corp., 67 B.R. 557, 588 (D.N.J.
  1986) (under U.C.C. § 9-207, “a secured party is allowed to commingle fungible collateral, including certain types
  of securities, and may sell the collateral and replace it with instruments which are equivalent in kind and value
  without breaching his duty to exercise reasonable care in the custody and preservation of the pledged collateral”).
  Nor does the ordering of events. If the contract pharmacy’s dispensing of the drugs is event “A” and the contract
  pharmacy’s receipt of the drugs is event “B,” the ordering of events does not matter if repeated over time. Whether
  the series looks like ...BABABA... or ...ABABAB... is simply a function of the reference timeframe. In sum, where
  the contract pharmacy is replenished by the covered entity and dispenses to the covered entity’s patients on a rolling
  basis, it is still true that the covered entity’s patients are receiving the covered entity’s drugs—they are not re-sold or
  “otherwise transfer[red]” to the contract pharmacy.

           It also bears mention that the replenishment inventory model is currently an integral part of many patient
  assistance programs operated by drug manufacturers. See, e.g., Publication of OIG Special Advisory Bulletin on
  Patient Assistance Programs for Medicare Part D Enrollees, 70 Fed. Reg. 70,623, 70,624 (Nov. 22, 2005); Merck
  & Co., Inc. For Health Care Professionals, MERCK HELPS, https://www.merckhelps.com/HCPs.aspx (last visited
  Dec. 21, 2020); Pfizer, Inc., The Pfizer Institutional Patient Assistance Program (IPAP) At-a-Glance (April 2019),
  https://www.pfizerrxpathways.com/sites/default/files/attachment/PP-PAT-USA1032%20RxPathways_IPAP_
  Factsheet%202019.pdf (last visited Dec. 21, 2020).
  7
           “[W]e rely on the principle of noscitur a sociis—a word is known by the company it keeps—to avoid
  ascribing to one word a meaning so broad that it is inconsistent with its accompanying words, thus giving
  unintended breadth to the Acts of Congress.” Yates v. United States, 574 U.S. 528, 543 (2015) (plurality op.)
  (quotes omitted).
  8
           An exact delineation of the scope of the phrase “otherwise transfer” is beyond the scope of the Advisory
  Opinion. The point here is simply that the phrase must have some limiting principle to avoid sweeping in innocuous
  conduct that is inevitable in the functioning of the 340B Program.

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  not a statutory mandate. Thus, manufacturers may not refuse to offer the ceiling price to covered
  entities, even where the latter use distribution systems involving contract pharmacies.

                                      II.      Conclusion and Limitations

          For these reasons, the Office of the General Counsel concludes that covered entities
  under the 340B Program are entitled to purchase covered outpatient drugs at no more than the
  340B ceiling price—and manufacturers are required to offer covered outpatient drugs at no more
  than the 340B ceiling price—even if those covered entities use contract pharmacies to aid in
  distributing those drugs to their patients. 9

         This Advisory Opinion may be supplemented or modified by the Office of the General
  Counsel. It is intended to minimize the need for individual advisory opinions. This Advisory
  Opinion sets forth the current views of the Office of the General Counsel. 10 It is not a final
  agency action or a final order, and it does not have the force or effect of law.




                                                        Robert P. Charrow
                                                        General Counsel
                                                        December 30, 2020




  9
           This Advisory Opinion is limited to interpretation of the 340B statutory requirements in general and does
  not opine on the legality of any specific contract-pharmacy model, under either the 340B statute or other laws that
  may apply (such as the anti-kickback statute, 42 U.S.C. § 1320a-7b).
  10
            See Air Brake Sys., Inc. v. Mineta, 357 F.3d 632, 647–48 (6th Cir. 2004) (holding that the Chief Counsel of
  the National Highway Traffic Safety Administration had delegated authority to issue advisory opinions to regulated
  entities in fulfillment of a congressional directive to promote regulatory compliance); 5 U.S.C. § 301 (“The head of
  an executive department . . . may prescribe regulations for the government of his department, the conduct of its
  employees, [and] the distribution and performance of its business[.]”); Statement of Organization, Functions, and
  Delegations of Authority, 85 Fed. Reg. 54,581, 54,583 (Sept. 2, 2020).

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                   EXHIBIT H
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                                                                                               The General Counsel
                                                                                               Washington, D.C. 20201
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                                                      September 21, 2020


                  AnatHakim
                  Senior Vice President and General Counsel
                  Eli Lilly and Company
                  Lilly Corporate Center
                  Indianapolis, Indiana 46285

                  Dear Ms. Hakim:

                        I am responding to your September 8, 2020 letter to the Deputy Secretary and me. In that
               letter, you requested a pre-enforcement advisory opinion ("AO") as to whether Lilly's new unilat-
               eral policy involving the 340B program would subject Lilly to sanctions. Under that policy, Lilly
               will cease extending 340B pricing to pharmacies under contract with covered entities, unless the
               covered entity lacks an in-house pharmacy. 1 In such a case, Lilly will extend 340B pricing to only
               one designated contract pharmacy. As we understand it, Lilly has already implemented that policy
               for Cialis and has since extended the same policy for its other covered outpatient drugs.
                      As we have indicated in earlier correspondence, although the Health Resources and Ser-
              vices Administration ("HRSA") has significant initial concerns with Lilly's new policy, it contin-
              ues to review that policy and has yet to make a final determination as to any potential action.
              Correspondingly, Lilly cannot and should not view the absence of any questions from the govern-
              ment as somehow endorsing Lilly's policy especially when this Department is leading the govern-
              ment's response to the COVID-19 pandemic.
                      In the interim, we have four concerns with your letters that do not relate to the legal pro-
              priety of your unilateral price increases.
                       First, Lilly sought to unilaterally impose an artificial deadline on HRSA's decision-making
              when it asserted in its May 18, 2020, letter to HRSA that unless it heard from HRSA to the contrary
              by June 30, 2020, it would assume that HRSA had no objections to its price restructuring for Cialis
              and would implement the same on July 1. Lilly imposed a similar set of deadlines for the rest of
              its drugs, indicating in its August 19, 2020 letter to HRSA that unless Lilly heard to the contrary
              by August 31, 2020, it would begin charging higher prices to pharmacies under contract with cov-
              ered entities serving the disadvantaged on September 1. Lilly cannot and should not seek to impose
              such deadlines on the government's deliberations-especially when HRSA is playing a pivotal
              role in responding to an unprecedented pandemic. Nor is Lilly entitled to know the substance of
              those ongoing deliberations.



              1
                     In addition to the September 8 letter from you, Lilly has submitted four other letters with
             respect to its proposal to scrap 340B pricing to contract pharmacies-dated August 27, 2020,
             August 19, 2020, July 17, 2020, and May 18, 2020.
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   AnatHakim
   Eli Lilly and Company
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          Second, Lilly's decision to interpret HRSA's responses as tantamount to definitive agency
   agreement with Lilly's position is incorrect. As noted above, HRSA is still eva]uating how to
   proceed.
          Third, Lilly's designation of its letters of September 8 and May 18 as exempt from disclo-
  sure under FOIA Exemptions 4, 6, and 7 and containing trade secrets under 18 U.S.C. § 1905 is
  fundamentally in error. Exemption 4 covers trade secrets and commercial confidential infor-
  mation. Lilly's lega1 position is neither. Moreover, we could find nothing in any of your letters
  that qualifies as either a trade secret or commercial confidential information. Exemption 6 relates
  to "personnel and medical files and similar files the disclosure of which would constitute a clearly
  unwarranted invasion of personal privacy." We could find nothing in any of the Lilly letters that
  would qualify for this exemption. Exemption 7 relates to law-enforcement records. It is unclear
  why Lilly believes that Exemption 7 applies.
          Fourth, we believe that the timing of your pricing changes is, at the very least, insensitive
  to the recent state of the economy. Although the economy is rebounding at a record rate, the
  unemployment and under-employment rates are still temporarily higher than at the beginning of
  the year due to COVID-19. Many Americans and many small businesses have had difficulty mak-
  ing ends meet. Lilly, on the other hand, seems to be enjoying an outstanding year. The price of
  Lilly's stock has increased by more than 11 percent since January 1, 2020, reflecting, among other
  things, the fact that your company's comprehensive income jumped from $1.414 billion during
  the second quarter of2019 to $1.615 billion for the second quarter of 2020, an increase of more
  than 14 percent.
          In contrast, during this same period, most health care providers, many of which are covered
  entities under section 340B, were struggling financially and requiring federal assistance from the
  Provider Relief Fund established by the CARES Act. Many continue to struggle and depend on
  emergency taxpayer assistance. It is against this backdrop that you are effectively increasing the
  prices of 10 mg and 20 mg Cialis by more than 500,000 percent and have done the same for other
  drugs in your portfolio.
           In your letter, you noted that at least one covered entity has been the subject of a qui tam
  False Claims Act suit arising, in part, out of the 340B program. See Letter to the Deputy Secretary
  from Ms. Hakim (Lilly) at 2 n.6 (July 17, 2020); Letter to Rear Admiral Pedley from Mr. Asay
  (Lilly) at 11 n.36 (May 18, 2020). Please bear in mind that a similar suit against Lilly is a potential
  consequence in the event that Lilly knowingly violates a material condition of the program that
  results in over-charges to grantees and contractors.
                                                 Sincerely yours,




                                                    neral Counsel
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                                                                                            Health Resources and Services
           DEPARTMENT OF HEALTH & HUMAN SERVICES                                            Administration

                                                                                            Rockville, MD 20857
                                                                                            Office of Pharmacy Affairs




  December 9, 2020


  Ms. Maureen Testoni
  President and Chief Executive Officer
  340B Health
  1101 15th Street, NW, Suite 910
  Washington, DC 20005

  Dear Ms. Testoni:

  Secretary Azar asked me to thank you for your letter regarding recent actions by several drug
  manufacturers impacting covered entities that participate in the 340B Drug Pricing Program
  (340B Program).

  Your letter raises concerns about specific actions that limit access to 340B drugs. For example,
  Eli Lilly USA (Lilly) is no longer providing 340B discounts on several of its drug products to
  covered entities through contract pharmacy arrangements. Several other manufacturers have also
  announced plans not to sell 340B drugs to contract pharmacies, while others are limiting sales by
  requiring specific data requirements or selling drug products only after a covered entity has
  demonstrated 340B compliance.

  The Health Resources and Services Administration (HRSA) is continuing to review the various
  proposals and whether these actions by manufacturers violate the 340B statute and whether
  sanctions may apply. Under section 340B(a)(1) of the Public Health Service Act (PHSA), a
  manufacturer participating in the 340B Program must offer its covered outpatient drugs for
  purchase at or below the 340B ceiling price. Those sanctions could include, but are not limited
  to, civil monetary penalties pursuant to section 340B (d)(1)(B)(vi) of the PHSA. In a letter to
  Lilly posted on the 340B website, the U.S. Department of Health and Human Services reiterates
  its concern with actions such as those Lilly is taking. 1

  The 340B statute does not specify the mode by which 340B drugs may be dispensed. HRSA
  believes contract pharmacies serve a vital function in covered entities’ ability to serve
  underserved and vulnerable populations, particularly as many covered entities do not operate in-
  house pharmacies.

  1
      See: https://www.hrsa.gov/sites/default/files/hrsa/opa/pdf/hhs-eli-lilly-letter.pdf
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                                                                              Ms. Maureen Testoni
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  HRSA believes that manufacturers that refuse to honor contract pharmacy orders could limit
  access to 340B-discounted drugs for many underserved and vulnerable populations who may be
  located in geographically isolated areas and rely on contract pharmacies as a critical point of
  access for obtaining their prescriptions. To this end, HRSA continues to strongly encourage all
  manufacturers to sell 340B priced drugs to covered entities directly and through contract
  pharmacy arrangements.

  Some covered entities have reached out to HRSA expressing concern that they are unable to
  receive the 340B ceiling price on certain drug products due to these recent actions. HRSA is
  working closely with each impacted covered entity and is actively investigating the matter in
  order to make a final determination as to any potential action.

                                               Sincerely,



                                               Krista M. Pedley, PharmD, MS
                                               RADM, USPHS
                                               Assistant Surgeon General
                                               Director, Office of Pharmacy Affairs
                                               Health Resources and Services Administration
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                         EXHIBIT K




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  To Whom It May Concern:




             I am writing to inform you that Sanofi is implementing a new 3408 program integrity initiative to address
   duplicate discounts. Sanofi supports the 3408 Program's core objective of increasing access to outpatient
   drugs among uninsured and vulnerable patients and is committed to maintaining and strengthening its
   mission. However, we are concerned about the rate of duplicate discounting on Medicaid prescriptions
   filled with 3408-purchased drugs. Similarly, manufacturers pay ineligible rebates on Medicare Part D and
   commercial utilization due to the lack of transparency in the 3408 program.

            To resolve these issues, Sanofi will require 3408 covered entities to submit claims data for 3408
   prescriptions of Sanofi products filled through its contract pharmacies. Sanofi will use this data to match
   against rebate claims it receives to ensure it isn't paying ineligible discounts. This initiative is enabled
   through 3408 E_S ™, a Second Sight Solutions technology. Sanofi is requiring 3408 covered entities to
   register at www..340BES.P... co.m by October 1, 2020.

           Sanofi has maintained a strong commitment to the 3408 program since its inception. We also
   recognize that for the 3408 program to continue in its mission, serious program integrity and transparency
   challenges must be addressed. That is why we are adopting the 3408 ESP™ platform and we look
   forward to working with 3408 covered entities to further strengthen the 3408 program.

            Best regards,




            Gerald Gleeson
            VP & Head, Sanofi US Market Access Shared Services




                                       NEXT STEPS AND FREQUENTLY ASKED QUESTIONS

   To get started with Second Sight Solutions' 3408 ESP™ platform, follow these three simple steps:

       1.     Go to www..340.B.ESP...c.om to register your account. Upon initial registration you will be prompted with an
              onboarding tutorial that will walk you through the account set up process step by step. This process takes
              -15 minutes.
       2.     Once your account is activated, you will be able to securely upload data to 3408 ESP™. You will receive
              periodic notifications of pending data submissions and new contract pharmacy set up activities.
       3.     Login to 3408 ESP and submit your 3408 contract pharmacy claims data on a bi-weekly basis. Once
              your account is set up, the claims upload process takes - 5 minutes.

   In addition to the frequently asked questions below, you can visit \iiN\f.V\!.•.3.4.0.BESP•.c.om/EAQ.s. to learn more about
   3408 ESP™. For further help with the registration, account setup, and data submission process please call Second
   Sight Solutions at 888-398-5520. To learn more about how Sanofi is working to improve program integrity through
   3408 ESP™, please contact Sanofi directly at Sano.fi3.4D.B.Op_em.tions@s.anoii..c_om.

   Q: How will Sanofi use the 3408 claims data that we provide through 3408 ESP™?

   A: Data uploaded by 3408 covered entities will be used to identify and resolve duplicate Medicaid and commercial
   rebates.

   Q: How does 3408 ESP™ protect the privacy of my patients?
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   A: Data uploaded to 340B ESP™ is de-identified and meets the definition of a De-identified Data Set under HIPAA.
   This means no actual protected health information (PHI) is collected and the data cannot be combined with other data
   sets to reveal the identity of a patient. Additional security controls are embedded throughout the platform.

   Q: Is Sanofi requesting data for all Sanofi products?

   A: No. Sanofi is only requesting data for Sanofi drugs commonly dispensed through retail, specialty and outpatient
   pharmacies registered on the HRSA database as a contract pharmacy. Physician-administered drugs are not part of
   this program. 340B ESP™ automatically limits the data in your upload file to the applicable NDCs.

   Q: What happens if my organization does not provide 3408 contract pharmacy claims data?

   A: Sanofi is requiring 340B covered entities to register with 340B ESP™ and begin providing 340B claims data by
   October 1, 2020. 340B covered entities that elect not to provide 340B claims data will no longer be eligible to place
   Bill To I Ship To replenishment orders for Sanofi products dispensed through a contract pharmacy. All 340B covered
   entities will continue to be able to purchase Sanofi products at the 340B price when shipped to an address registered
   on the 3408 covered el'"!tity database as a parent or child site.

   Q: Is Sanofi requesting data for pharmacies that are registered with HRSA as a covered entity?

   A: No. Sanofi is only requesting data for 340B claims that originates from contract pharmacies. Covered entities do
   not need to provide 340B claims for prescriptions filled in their own outpatient pharmacies.

   Q: What benefit does the 3408 covered entity realize by using 3408 ESP™?

   A: By providing 340B claims data that originate from contract pharmacies, you will enable Sanofi to definitively
   identify duplicate Medicaid rebates. Covered entities will then be informed which pharmacies are dispensing 340B
   purchased drugs to Medicaid patients. This information can be used to further strengthen the audit processes and
   compliance controls of the covered entity.

   Q: Does HRSA and/or Apexus support this initiative?

   A: HRSA encourages 340B covered entities to work with pharmaceutical manufacturers in good faith to resolve
   issues of non-compliance in the 340B program. Although neither HRSA nor Apexus has commented publicly on this
   specific initiative, Sanofi believes 340B ESP™ provides a simple platform for Sanofi and 340B covered entities to
   engage collaboratively and in good faith to address duplicate discounts.

   Q: How often will I need to upload 3408 contract pharmacy claims data to 3408 ESP™?

   A: The 340B ESP™ platform requires claims uploads every two weeks. The actual upload process takes -5 minutes
   and should not place significant burden on 340B covered entity operations. Email reminders are automatically
   generated from 340B ESP™ and covered entities can monitor claims submission status when logged in to the
   platform.

   Q: What technology requirements exist to successfully upload data to 3408 ESP™?

   A: 340B ESP™ is compatible with most internet browsers including Microsoft Edge, Google Chrome, Safari, FireFox
   and others. However, we strongly recommend using Google Chrome for the best user experience. Users will need
   an internet connection and access to a supported browser to successfully upload data.
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                         EXHIBIT L




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                                            New policy Filedto03/26/21      Page 86 of 113 PageID: 1059
                                                              the 340B program




    Published on Novartis United States of America (https://www.novartis.us)
    Home > Printer-friendly > New policy related to the 340B program




    New policy related to the 340B program                                        [1]



    We firmly support the intent of the 340B program to serve vulnerable patients. However, the
    exponential growth of vast networks of contract pharmacies – which have no basis in law – has
    undermined the integrity of the program.

    We have listened to stakeholders, and, after careful consideration, we are taking a focused
    approach based on common-sense criteria that will help ensure that the program benefits patients
    of covered entities, as intended. Our policy will continue to honor contract pharmacy arrangements
    so long as they are located within a 40-mile radius of the covered entity hospital, which is consistent
    with federal policy regarding hospitals and off-site affiliates.

    Notably, our policy does not apply to federal grantee covered entities such as Ryan White clinics
    and community health centers, and patient access to medicines will not be compromised.

    340B program reform is needed, and we look forward to continuing to work with Congress, the
    Department of Health and Human Services, and other stakeholders to ensure that the program
    operates within its intended framework and thereby address the long-standing concerns that
    threaten the sustainability of the program.

    Publish Date:
    Oct 30, 2020
    Accordion Type:
    Collapsible

    Source URL: https://www.novartis.us/news/statements/new-policy-related-340b-program

    Links
    [1] https://www.novartis.us/news/statements/new-policy-related-340b-program




https://www.novartis.us/print/16951                                                                           1/1
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                        EXHIBIT M




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                         EXHIBIT N




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THE 340B COALITION
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                                                   July 16, 2020

   The Honorable Alex M. Azar
   Secretary
   U.S. Department of Health and Human Services
   200 Independence Avenue, S.W.
   Washington, D.C. 20201

   Re: Recent Actions by Pharmaceutical Manufacturers Eli Lilly and Merck Impacting 340B
   Covered Entities

   Dear Secretary Azar:

   On behalf of the thousands of safety-net providers enrolled in the 340B federal drug discount
   program, the 340B Coalition wants to bring to your attention the actions of two global
   pharmaceutical companies that threaten to dramatically reduce the 340B benefit that safety-
   net hospitals, health centers, and clinics use to serve our nation’s most vulnerable citizens. We
   ask that the Department of Health and Human Services (HHS) use its legal authority to halt
   these actions and protect these vital institutions and their patients.

   Background

   Eli Lilly recently announced in a notice published on the Health Resources and Services
   Administration’s Office of Pharmacy Affairs website that, effective July 1, 2020, the company
   will no longer provide 340B pricing on three formulations of the drug Cialis when the 340B
   covered entity that purchased it elects to have it shipped to a 340B contract pharmacy.1 Lilly
   has left the door open to taking similar action with other drugs. If this is allowed to stand, there
   would be nothing preventing Lilly from extending this policy to hundreds of very expensive
   drugs that qualify for 340B pricing, including critical drugs like Humalog. We believe this refusal
   to sell a drug at a 340B price based on where the covered entity elects to have its 340B drugs
   shipped violates the 340B statute’s requirement that manufacturers must offer 340B prices to
   eligible covered entities.

   By letter dated June 29, 2020, Merck asked 340B covered entities to submit contract pharmacy
   claims data for “commonly dispensed” Merck drugs to allow the company to prevent duplicate
   discounts related to contract pharmacies2 and indicated that, without “significant cooperation”
   from covered entities, Merck “may take further action to address 340B Program integrity.” This

   1
     Limited Distribution Plan Notice for Cialis® (tadalafil) Erectile Dysfunction NDCs,
   https://www.hrsa.gov/sites/default/files/hrsa/opa/pdf/limited-distribution-plan-notice-cialis.pdf.
   2
     Merck expressed interest in preventing duplicate discounts under Medicaid, Medicare Part D, and commercial
   insurance plans. Federal law prohibits Medicaid duplicate discounts but does not address duplicate discounts
   under Medicare Part D or commercial plans. Federal law does not confer compliance obligations on covered
   entities related to non-Medicaid claims.
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  Secretary Alex M. Azar
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  request goes well beyond inquiries that manufacturers often engage in to address compliance
  concerns. Threats of “further action” absent cooperation from covered entities with such an
  overly broad request is not supported under the 340B statute.

  In the midst of a global pandemic, with drug prices already much too high and rising, these
  actions cannot be allowed to stand. It is in the public interest that the Administration act swiftly
  and firmly to stop these actions.

  A Clear Violation of Statute

  Congress created the 340B drug pricing program to allow safety-net providers “to stretch scarce
  federal resources as far as possible, reaching more eligible patients and providing more
  comprehensive services.”3 Covered entities use the savings created by 340B drug price
  discounts to support care for patients who are uninsured and underinsured without costing the
  American taxpayers a single dollar, as the savings come from manufacturer discounts.

  340B providers are a vital part of our nation’s health care safety net, as shown by their key role
  in our response to the COVID-19 pandemic, and their participation in 340B is central to their
  ability to achieve their mission. For example:

         •   Federally Qualified Health Centers -- whose authorizing statute explicitly requires them
             to provide required services such as pharmaceuticals by contractual or collaborative
             arrangements, if not directly4 -- use the savings from the 340B program to underwrite
             the costs of providing free or heavily discounted medications to low-income uninsured
             and underinsured patients. These savings also support a range of other services, which
             vary based on the needs of each health center’s community. Common examples include
             substance use disorder services, clinical pharmacy services, dental services, and
             programs to make pharmaceuticals accessible to patients who are homebound or who
             live in remote areas.
         •   Ryan White grantees use 340B savings to provide specialized and primary medical
             services, dental care, and other services to people living with HIV/AIDS.
         •   AIDS Drug Assistance Programs are fully dependent on 340B contract pharmacies for
             their direct purchase mechanisms and uninsured clients.
         •   Comprehensive hemophilia treatment centers (HTCs) use 340B program savings to
             maintain and expand clinical services for all bleeding disorders patients seen at their
             centers, including such non-reimbursable services as coordination of care, social work
             services, and physical therapy assessments as well as rural outreach clinics. Patients and
             their families rely on HTCs, which depend on 340B savings, for access to specialized,
             consistent, and high-quality treatment and education. With HTCs and their



  3
      H.R. Rep. 102-384(II) at 12 (1992).
  4
      42 U.S.C.§ 254b(a)(1).
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          comprehensive care model enabled by 340B savings, patients have longer, healthier,
          and more productive lives.
      •   340B hospitals provide 60 percent of all uncompensated care in the U.S. and 75 percent
          of all Medicaid hospital care.

  The 340B statute requires manufacturers wishing to participate in Medicaid and Medicare Part
  B to enter into agreements with HHS that “require that the manufacturer offer each covered
  entity covered outpatient drugs for purchase at or below the applicable ceiling price if such
  drug is made available to any other purchaser at any price.”5 There is no provision under the
  statute that allows Lilly to deny 340B pricing to a covered entity, or to require that a drug
  purchased by a covered entity be shipped only to locations that the manufacturer has
  approved. Therefore, Lilly’s pharmacy policy is a clear violation of the law, and HHS is
  compelled to take action to stop it from being carried out.

  We are concerned that Merck’s wide-ranging request for all contract pharmacy claims data, to
  address so-called “duplicate discounts” under Medicaid, Medicare Part D, and commercial
  plans could be extremely burdensome for covered entities to meet. We also are concerned that
  the data sought by Merck to prevent Medicare Part D and commercial “duplicate discounts,”
  neither of which is prohibited under the 340B statute, will only be used to benefit the
  company’s financial bottom line, not 340B compliance. The 340B statute does not permit
  pharmaceutical manufacturers to set up barriers to 340B pricing. Under federal rules, if Merck
  has compliance concerns regarding a particular covered entity, the company can make a good-
  faith inquiry targeted to that entity.6 If the inquiry does not resolve the company’s concerns, a
  manufacturer can request to conduct an audit of the entity.7 We ask HHS to prohibit Merck
  from establishing barriers to 340B by threatening to impose “substantially more burdensome”
  consequences if covered entities do not voluntarily participate in the company’s unnecessary
  and burdensome program.

  A Dangerous Precedent

  We are concerned that the actions of these global manufacturers, if allowed to stand, will set a
  dangerous and negative precedent for the 340B program and the providers and patients it
  serves. These policies will hurt patients with low incomes and those living in rural communities
  who rely on 340B covered entities for their care. The Coalition appreciates the work that
  President Trump and you have done to halt the rise in prescription drug prices. Taking action
  today to halt these ill-conceived policies will be an important part of those efforts.




  5
    42 U.S.C. § 256b(a)(1).
  6
    Manufacturer Audit Guidelines and Dispute Resolution Process, 61 Fed. Reg. 65406 (Dec. 12, 1996).
  7
    42 U.S.C. § 256b(a)(5)(C).
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                                          *      *      *

  We appreciate your consideration of our request. If you have any questions, please feel free to
  reach out to any of the listed 340B Coalition representatives.

  Sincerely,

  The 340B Coalition


  cc:
  Tomas J. Engels, Administrator, Health Resources and Services Administration
  Rear Admiral Krista M. Pedley, Director, Office of Pharmacy Affairs, Health Resources and
         Services Administration
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                         EXHIBIT O




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          July 30, 2020


          The Honorable Alex M. Azar II
          Secretary
          U.S. Department of Health and Human Services
          200 Independence Avenue, S.W.
          Washington, D.C. 20201

          Dear Secretary Azar:

          On behalf of the American Hospital Association’s (AHA) nearly 2,000 340B member
          hospitals, we are writing to express concern regarding recent action taken by three
          major drug manufacturers – Eli Lilly and Co., Merck and Sanofi – to limit the distribution
          of certain 340B drugs to our hospital members. Eli Lilly has filed its notice to limit the
          distribution of certain 340B drugs with the Office of Pharmacy Affairs within the Health
          Resources and Services Administration (HRSA). Merck and Sanofi have directly
          communicated with our 340B hospital members requesting detailed information about
          any 340B drugs distributed through the hospital’s contract pharmacy arrangements. The
          Merck and Sanofi communications explain the purpose of the request is to investigate
          possible duplicate discounts provided to state Medicaid programs.

          The 340B statute is clear that manufacturers wishing to participate in the Medicaid
          program must enter into agreements with the Department of Health and Human
          Services (HHS) that “require that the manufacturer offer each covered entity covered
          outpatient drugs for purchase at or below the applicable ceiling price if such drug is
          made available to any other purchaser at any price.”1 Yet, Eli Lilly, Merck and Sanofi are
          moving forward with these actions in direct conflict with the statute and HRSA’s 2010
          guidance on contract pharmacy arrangements. The guidance clearly notes that: “Under
          section 340B, if a covered entity using contract pharmacy services requests to purchase
          a covered outpatient drug from a participating manufacturer, the statute directs the

1
    42 U.S.C. 256b(a)(1)
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  The Honorable Alex Azar
  July 30, 2020
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  manufacturer to sell the drug at a price not to exceed the statutory 340B discount
  price.”2 The HRSA guidance also makes it clear that the 340B covered entity is
  responsible for ensuring that the entity meets all requirements of the 340B program,
  including efforts to ensure against duplicate discounts and diversion. Eli Lilly has issued
  FAQs to justify its action to deny the distribution of certain 340B drugs through a
  hospital’s contract pharmacy by stating that contract pharmacy arrangements are not
  statutory.

  As noted in the guidance, HRSA established and expanded to use of contract pharmacy
  to improve access to 340B drugs for vulnerable populations served by the 340B
  program. 340B hospital and community health clinics are all obligated to meet the
  statutory and regulatory requirements of the 340B program. Neither the 340B statute
  nor the HRSA guidance would allow Eli Lilly to deny 340B pricing to a covered entity, or
  to require that a drug purchased by a covered entity be shipped only to locations that
  the manufacturer has approved. Eli Lilly, Merck and Sanofi are picking and choosing
  those requirements with which they will adhere. They are publicly flaunting the 340B
  statute and HRSA 340B programmatic guidance and taking matters into their own
  hands to suit their best interests.

  The AHA urges HRSA to address these abuses by Merck, Eli Lilly and Sanofi and
  request they cease this activity and work to ensure that 340B drugs are available and
  accessible to communities and vulnerable populations. 340B hospitals continue to
  struggle to meet the demands of the COVID-19 public health emergency and it is
  outrageous that in the middle of a pandemic, hospitals are facing added challenges to
  the drug supply chain brought on by the actions of these major drug manufacturers.

  We look forward to continuing to work with you during this critical time to protect the
  health of our nation. Please contact me if you have questions, or feel free to have a
  member of your team contact Molly Collins, director of policy, at (202) 626-2326 or
  mcollins@aha.org or Aimee Kuhlman, senior associate director of federal relations, at
  (202) 626-2291 or akuhlmanl@aha.org.

  Sincerely,

  /s/

  Thomas P. Nickels
  Executive Vice President




  2
      https://www.govinfo.gov/content/pkg/FR-2010-03-05/pdf/2010-4755.pdf
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                         EXHIBIT P




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                         EXHIBIT Q




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           September 8, 2020

            The Honorable Alex M. Azar II
            Secretary
            U.S. Department of Health and Human Services
            200 Independence Avenue, S.W.
            Washington, D.C. 20201

            Dear Secretary Azar:

            On behalf of the American Hospital Association’s (AHA) nearly 2,000 340B member
            hospitals, we are writing to again express concern with recent actions taken by several
            major drug manufacturers to limit the distribution of certain 340B drugs to our hospital
            members. While we understand that the Health Resources and Services Administration
            (HRSA) is further investigating these actions, we urge swift and decisive action to halt
            these pernicious tactics so as to prevent other manufacturers from following suit.

            In our July letter, we alerted you to actions taken by Eli Lilly and Merck to undermine the
            340B program. Since that time, several other drug manufacturers – Sanofi, Novartis and
            AstraZenca – adopted similar strategies to interfere with 340B discounts for drugs
            distributed through contract pharmacy arrangements and/or demanding of 340B
            hospitals superfluous claims data requirements. These actions undermine 340B
            hospitals’ ability to serve vulnerable communities, particularly in rural areas, where
            contract pharmacies help provide access to more affordable health care services.

            The 340B statute is clear that manufacturers participating in the Medicaid program must
            enter into agreements with the Department of Health and Human Services (HHS) that
            “require that the manufacturer offer each covered entity covered outpatient drugs for
            purchase at or below the applicable ceiling price if such drug is made available to any
            other purchaser at any price.”1 There is no statutory provision that allows these
            manufacturers to deny 340B pricing to eligible hospitals for any drug. In addition, 340B
            programmatic guidance states unequivocally that, “[u]nder section 340B, if a covered

1   42 U.S.C. 256b(a)(1)
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   The Honorable Alex Azar
   September 8, 2020
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   entity using contract pharmacy services requests to purchase a covered outpatient drug
   from a participating manufacturer, the statute directs the manufacturer to sell the drug at
   a price not to exceed the statutory 340B discount price.”2 HHS, based on this alone,
   should act to compel drug manufacturers to halt these abusive tactics.

   HRSA, in its oversight of the 340B program, found that expanding the use of contract
   pharmacies to improve access to 340B drugs for vulnerable communities served by the
   340B program was critical, particularly in rural areas. Nearly half of all eligible 340B
   hospitals are in rural settings that often lack adequate access to health care services.
   Contract pharmacies expand access to affordable health care services for everyone in
   these vulnerable communities and the financial relief provided to rural hospitals from the
   exorbitant prices they would otherwise pay help keep them operating.

   The AHA has written to each of these drug manufacturers’ leadership to request they
   discontinue these abusive tactics. The responses received thus far cite unsubstantiated
   concerns about duplicate discounts between the Medicaid and 340B programs.
   However, even if these concerns are valid, there is no legitimate basis for these
   companies to limit the distribution of prescription drugs to 340B hospitals or demand
   superfluous paperwork.

   The drug companies are attempting to exploit for their financial benefit the current
   COVID-19 health care crisis. As you are aware, hospitals throughout the nation are
   under severe stress by the need to prepare for, and/or care for, COVID-19 patients,
   while coping with the financial damages inflicted by the virus. Therefore, we urge you to
   act immediately against any drug manufacturer employing these pernicious tactics to
   ensure that 340B drugs are available and accessible to vulnerable communities.

   We look forward to continuing to work with you during this critical time to protect our
   nation’s health. Please contact me if you have questions, or feel free to have a member
   of your team contact Molly Collins, AHA’s director of policy, at (202) 626-2326 or
   mcollins@aha.org or Aimee Kuhlman, AHA’s senior associate director of federal
   relations, at (202) 626-2291 or akuhlman@aha.org.

   Sincerely,

   /s/

   Richard J. Pollack
   President and Chief Executive Officer




   2
       https://www.govinfo.gov/content/pkg/FR-2010-03-05/pdf/2010-4755.pdf (emphasis supplied)
Case 3:21-cv-00634-FLW-LHG Document 50 Filed 03/26/21 Page 106 of 113 PageID: 1079




                         EXHIBIT R




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        October 16, 2020


        The Honorable Alex M. Azar II
        Secretary
        U.S. Department of Health and Human Services
        200 Independence Avenue, S.W.
        Washington, D.C. 20201

        Dear Secretary Azar:

        On behalf of the American Hospital Association’s (AHA) nearly 2,000 340B member
        hospitals, we are writing to follow up on our previous correspondence on the serious
        situation Eli Lilly, AstraZeneca and Sanofi are creating for the nation’s most vulnerable
        communities by refusing to comply with the requirements of the 340B program to sell to
        contract pharmacies at the discounts required by section 340B of the Public Health
        Service Act.

        Despite correspondence to the drug manufacturers from AHA, 340B Health and others
        affected by this conduct followed by a letter from the Department of Health and Human
        Services’ (HHS) General Counsel to Eli Lilly expressing “significant” concerns, Eli Lilly,
        Astra Zeneca and Sanofi have yet to halt their conduct, which is plainly illegal.
        Therefore, we request that HHS immediately direct all three companies to cease
        charging hospitals and covered entities more than the 340B ceiling price for drugs being
        dispensed by a contract pharmacy and pursuant to 42 U.S.C. § 256b(d)(1)(B)(ii) to
        issue refunds for each overcharge instance. We also request that the matter be referred
        to the HHS Office of Inspector General for assessment of civil money penalties pursuant
        to 42 C.F.R. § 10.11 and 42 C.F.R. Part 1003.1

        Eli Lilly signaled its intent to flaunt the law in May 2020, when the Health Resources and
        Services Administration (HRSA) posted a notice from Eli Lilly, which states that,
        effective July 1, 2020, the company will no longer provide 340B pricing on three
        formulations of its drug Cialis® when the 340B covered entity purchasing the drug elects

1
 HRSA’s civil money penalty regulations recognize that the penalties are in addition to repayment for
overcharging as required by 42 U.S.C. § 256b(d)(1)(B)(ii). 42 C.F.R. § 10.11(a).
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   The Honorable Alex Azar
   October 16, 2020
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   to have it shipped to a 340B contract pharmacy. See Limited Distribution Plan Notice for
   Cialis® on HRSA’s website. On Sept. 1, 2020, Lilly extended this policy to all of its
   drugs, effective Oct. 1, 2020, and AstraZeneca and Sanofi quickly followed suit
   implementing similar policies withdrawing 340B pricing for their drugs when the covered
   entity elects to have the purchased drug shipped to a contract pharmacy.

   These manufacturers’ failure to sell their drugs to covered entities for delivery to
   patients through contract pharmacies at the 340B ceiling price is contrary to section
   340B of the Public Health Service Act, 21 U.S.C. § 256b. Under the terms of the statute
   and the Pharmaceutical Pricing Agreement (PPA) these manufacturers have entered
   with HRSA under the statute, the manufacturers must charge covered entities no more
   than the 340B ceiling price for any covered outpatient drug. Failure to do so violates the
   340B statute and the PPA.

   As we further explain below, the plain meaning of the 340B statute requires all
   manufacturers to sell their drugs to covered entities at the 340B ceiling price, regardless
   of whether the drug is furnished at the entity’s pharmacy or at a pharmacy that has
   entered into a contract with the covered entity to furnish 340B drugs to the covered
   entity’s patients. HRSA has issued guidance on contract pharmacies that provides the
   correct interpretation of the statute. The statute does bind HHS and HRSA, and even
   without the guidance the statute would prohibit the manufacturers’ conduct.

   Under the 340B program, private prescription drug companies, as a condition of having
   their outpatient drugs covered through Medicaid, are required to enter into a PPA with
   the HHS Secretary pursuant to which they must offer 340B providers outpatient drugs at
   or below the ceiling price. Nothing in the statute limits how covered entities are
   permitted to get those drugs to their patients if the covered entity is complying with the
   statutory requirements, including the prohibition on drug diversion and duplicate
   discounting.

   In 1996, HRSA issued “final guidelines” which recalled that since the beginning of the
   program, HHS has recognized that covered entities are permitted to use contract
   pharmacies to dispense 340B drugs as long as they comply with the prohibition on drug
   diversion. 61 Fed. Reg. 43549, 43550 (Aug. 23, 1996) (“As early as 1993, several
   covered entity groups ... came forward to assist the Department in developing a
   workable mechanism to use outside pharmacies...”)

   The 1996 guidelines formalized a mechanism that covered entities could use to contract
   with a pharmacy to provide services to the covered entity’s patients. 61 Fed. Reg.
   43549. Although those guidelines provided only for the use of a single contract
   pharmacy, the limitation was driven by HRSA’s desire to provide a mechanism that it
   thought would eliminate the risk of potential drug diversion rather than with a
   determination that HRSA believed it was not permitted. Id. In fact, HRSA agreed with
   comments that “[a]s a matter of State law, entities possess[ed] the right to hire retail
   pharmacies to act as their agents in providing pharmaceutical care to their patients” and
   that “even in the absence of Federal guidelines, covered entities have the right to
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   The Honorable Alex Azar
   October 16, 2020
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   contract with retail pharmacies for the purpose of dispensing 340B drugs.” HRSA also
   agreed that “[b]y issuing the guidelines, [the Office of Drug Policy, a Division of HRSA,
   was] not seeking to create a new right but rather [was] simply recognizing an existing
   right that covered entities enjoy under State law.” Id. Finally, HRSA stated that “[u]nder
   section 340B, we believe that if a covered entity using contract pharmacy services
   requests to purchase a covered drug from a participating manufacturer, the statute
   directs the manufacturer to sell the drug at the discounted price. Id. at 43555 (emphasis
   added).2

   In 2001, HRSA stated that certain covered entities could use more than one contract
   pharmacy, 75 Fed. Reg at 10273. And in 2007, HRSA proposed guidelines formally
   recognizing this mechanism. 72 Fed. Reg. 1540 (Jan 12, 2007). When those guidelines
   were finalized in 2010 (75 Fed. Reg. 10272), HRSA again recognized that “[u]nder
   section 340B, if a covered entity using contract pharmacy services requests to purchase
   a covered outpatient drug from a participating manufacturer the statute directs the
   manufacturer to sell the drug at a price not to exceed the statutory 340B discount price.”
   Id. (emphasis added). Until now, Lilly and all other manufacturers have followed HRSA’s
   interpretation of the statute. The refusal to follow the law is harming vulnerable
   communities and health care providers that the HHS General Counsel noted are
   already “struggling financially.”

   We are asking for a meeting with you and your staff to discuss what steps HHS intends
   to take to address this situation. We believe we can work together with you to halt this
   illegal conduct.

   Please contact me if you have questions, or feel free to have a member of your team
   contact Molly Collins, director of policy, at 202-626-2326 or mcollins@aha.org or Aimee
   Kuhlman, senior associate director of federal relations, at 202-626-2291 or
   akuhlmanl@aha.org.

   Sincerely,

   /s/

   Richard J. Pollack
   President and Chief Executive Officer




   2
     In response to comments arguing that the statute does not permit the use of contract pharmacy
   arrangements, HRSA noted that “[t]he statute is silent as to permissible drug distribution programs and
   that “[t]here is no requirement for a covered entity to purchase drugs directly from the manufacturer or to
   dispense drugs itself.” According to HRSA, “[i]t is clear that Congress envisioned that various types of
   drug delivery systems would be used to meet the needs of the very diversified groups of 340B covered
   entities.” Id. at 43549.
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                          EXHIBIT S




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  340B Dispute Resolution Process On Ice As Feuds Between
  Pharma, Providers, HHS Heat Up
  22 Jan 2021   ANALYSIS

  by Cathy Kelly   Catherine.Kelly@informa.com


  Executive Summary
  Biden Administration’s regulatory freeze suspends HHS action to appoint an administrative dispute resolution board for the 340B
  program. Good news for manufacturers?




  HHS ON THE HOT SEAT OVER 340B LEGAL QUESTIONS


  Former Health and Human Services Secretary Alex Azar’s last minute attempt to appoint a board to oversee a new 340B
  Administrative Dispute Resolution process at the department has been at least temporarily thwarted by the Biden Administration’s
  regulatory freeze. The Administration’s 21 January withdrawal of a rule to appoint the board will delay action on at least two ADR
  petitions that were recently led against manufacturers.

https://pink.pharmaintelligence.informa.com/PS143652/340B-Dispute-Resolution-Process-On-Ice-As-Feuds-Between-Pharma-Providers-HHS-Heat-U…   1/3
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  Under a nal rule establishing the ADR process, which was released in December, a six-member ADR board appointed by the
  secretary would guide the deliberations of a three-member ADR panel tasked with resolving disputes between manufacturers and
  providers over 340B pricing and other issues. (Also see "340B Needs A Stronger Fix Than Dispute Resolution Rule, Provider Lawsuit Against
  HHS Argues" - Pink Sheet, 15 Dec, 2020.)

  The rule became effective on 13 January and ADR petitions protesting recent manufacturers actions to restrict 340B discounts to
  contract pharmacies quickly followed. One was led on behalf of a Northern California-based federally quali ed health center called
  Open Door Community Health against AstraZeneca, and another was submitted on behalf of the National Association of Community
  Health Centers against AstraZeneca PLC, Eli Lilly and Company, and Sano US.

  The petitions ask that manufacturers be ordered to reinstate 340B discounts to all contract pharmacies and restore discounts lost
  after the companies began to withhold them. (Also see "Pharma Pressure On 340B Contract Pharmacies Builds; How Will Biden’s HHS
  Respond?" - Pink Sheet, 4 Dec, 2020.)

  “The 340B statute unambiguously requires respondent to sell covered outpatient drugs to petitioner and places no limitation on the
  site of delivery,” the Open Door petition against AstraZeneca asserts. “A 340B regulation expressly de nes a manufacturer
  overcharge to include an order placed through an ‘agent,’ such as a contract pharmacy.” The petition by the National Association of
  Community Health Centers makes similar statements, arguing: “The drug manufacturers cannot impose their own unilateral
  conditions or restrictions on this unequivocal statutory requirement.”
  Without the organizational structure to handle them, the petitions are in effect on hold. President Biden’s chief of staff on 20
  January requested that federal agencies and departments suspend or withdraw last minute regulatory action by the Trump
  Administration that had not yet gone into effect until the actions could be reviewed by the new Administration. (Also see "Biden
  Regulatory Freeze May Pause Sunset Rule, Medicare Rebate, Medicaid Line Extension Regs" - Pink Sheet, 20 Jan, 2021.)

  Rules that had not yet been published in the Federal Register, like the appointment of the ADR board, would be withdrawn and then
  would need to be re-proposed. The board would include of cials from the HHS Of ce of General Counsel, the Health Resources and
  Services Administration and the Centers for Medicare and Medicaid Services, according to the nal rule establishing the ADR
  process.
  Also on hold is a nal rule requiring federally quali ed health centers to pass through all 340B discounts on insulin and EpiPens to
  consumers. The rule was meant to implement one of President Trump’s executive orders on drug pricing. Its effective date, which
  had been scheduled for 22 January, is pushed back to 22 March.

  Delay May Bene t Drug Industry Lawsuits
  The delay in the ADR process may allow progress on a series of pharma industry lawsuits related to the ADR rule. Most recently, the
  Pharmaceutical Research and Manufacturers of America led a complaint against HHS in federal district court in Maryland 22
  January arguing that the ADR rule:
   1.   Is “arbitrary and capricious” and violates the Administrative Procedures Act;

   2.   Requires manufacturers to satisfy overly burdensome evidence requirements before they can begin an audit of a 340B entity suspected of diversion or contributing to duplicate discounts; and

   3.   Improperly gave ADR panel decisions binding and precedential effect, without review by agency of cials who are appointed and con rmed by the Senate.




  The PhRMA suit followed separate 12 January lawsuits by AstraZeneca, Sano and Lilly seeking to overturn a recently-issued HHS
  advisory opinion that concludes manufacturers are obligated by law to provide 340B discounts to contract pharmacies.
  AstraZeneca's complaint was led in federal district court in Delaware, Sano 's complaint was led in New Jersey, and
  Lilly's complaint was led in Indiana. (Also see "340B Fight: Lilly ‘Disagrees’ With HHS Advisory Stating Discounts To Contract Pharmacies
  Are Required" - Pink Sheet, 7 Jan, 2021.)

  The advisory opinion could lend strong support to the pending ADR petitions against manufacturers brought by 340B covered
  entities.
  They also seek a declaration by the courts that they are not legally required to provide discounts to contract pharmacies without any
  conditions. The companies believe the advisory opinion would undercut any defense against an administrative dispute regarding
  discounts to contract pharmacies. “HRSA has made clear that it intends to use the ADR process to impose liability on manufacturers
  for failure to follow the advisory opinion’s approach to contract pharmacies,” AstraZeneca's complaint says.
  “Although Section 340B vests HHS with limited authority to establish ADR procedures by which to resolve ‘claims’ … the ADR nal
  rule purports to arrogate authority to the ADR panel ‘to resolve related issues’ – including purely legal questions such as … whether

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  a pharmacy is part of a ‘covered entity.’
  “Even if that were a proper exercise of authority, which it is not, the advisory opinion already conclusively announces HHS’s legal
  position on the contract pharmacy issue,” the company continues. “Accordingly, any attempt by a manufacturer to contest the
  advisory opinion on the contract pharmacy issue in proceedings before an ADR panel would be an exercise in futility.”

  Advisory Opinion Followed Provider Lawsuit Against HHS
  HHS issued the advisory opinion on 30 December after 340B-eligible providers led suit against the department on 11 December
  seeking de nitive action against the manufacturer restrictions. The suit was led by the American Hospital Association, the
  American Society of Health-System Pharmacists, America’s Essential Hospitals, the Association of American Medical Colleges, the
  Children’s Hospital Association and 340B Health, as well as three individual hospital plaintiffs.

  Lilly was the rst company to announce restrictions on 340B discounts to contract pharmacies last summer. Six other companies
  have since imposed similar restrictions on discounts provided to contract pharmacies based on the belief that the retailers are
  improperly pro ting from the 340B program and are engaged in product diversion and contribute to manufacturers providing
  duplicate discounts to 340B entities and Medicaid, which is prohibited by law.
  The manufacturers’ moves are aimed at exposing practices that are at odds with the underlying goal of the 340B program, which is
  to support safety net providers in their care of the underserved. A lack of transparency into how providers are using the savings
  from deep discounts has complicated efforts to resolve such complaints. The multiple lawsuits that the Biden Administration will
  now have to deal with may begin to provide some clarity.




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